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                      Exhibit 15

                  (REDACTED)
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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

 WILHEN HILL BARRIENTOS,
 GONZALO BERMUDEZ GUTIÉRREZ,
 and KEYSLER RAMÓN URBINA ROJAS
 individually and on behalf of all others
 similarly situated,
                                                     Civil Action No. 4:18-cv-00070-CDL
 Plaintiffs,

 v.

 CORECIVIC, INC.,

 Defendant.

      OPENING EXPERT REPORT OF PLAINTIFF’S EXPERT DR. DORA SCHRIRO

                         Summary of Expertise and Expert Opinion

1. My name is Dr. Dora Schriro, Ed.D., J.D. I have been retained as an expert in this matter to
   provide opinions regarding CoreCivic’s Voluntary Work Program (VWP) at Stewart
   Detention Center (SDC) in Lumpkin, Georgia over the proposed class period. As discussed
   in more detail herein, my opinions regarding the VWP at SDC are as follows.

2. It is my opinion that CoreCivic’s VWP at SDC violates operative policies and standards
   designed to ensure its voluntariness. People in immigration detention cannot be forced to
   work. CoreCivic’s policies violate a key tenant of its Agreement with U.S. Immigration and
   Customs Enforcement (ICE), to comply with ICE’s detention standards, including the
   prohibition on compelling people in its custody to work. CoreCivic persists in these practices
   because ICE’s oversight of CoreCivic is inadequate.

3. It is my opinion that CoreCivic relies on detainee labor to perform essential operations
   at SDC.

4. It is my opinion that CoreCivic’s policy is to deprive detained individuals of basic
   necessities, which is a practice that helps to ensure the maximum number of
   participants in SDC’s VWP.




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5. If called upon to do so, I am prepared to testify as to my opinions, analyses, and conclusions
   included in and related to this Report. I reserve the right to supplement my opinions should
   additional evidence or other information become available.

 Summary of Qualifications, Education, Publications, and Other Professional Experience

6. Based on my education, research, and experience, I am an expert in secured facility
   administration.

7. I am a career public servant who has served as an executive-level administrator, policy
   maker, and homeland security advisor. I have led three state and two city criminal justice
   agencies and a federal office in the U.S. Department of Homeland Security (DHS), ICE.

8. I was the Commissioner of the Connecticut Department of Emergency Services and Public
   Protection consisting of six state agencies including the Connecticut State Police and
   Homeland Security and Emergency Management, from 2014 through 2018. I served
   concurrently as Connecticut’s Homeland Security Advisor from 2016 through 2018. My
   DHS security clearance was Top Secret.

9. I was the Commissioner of two city jail systems, the St. Louis City Division of Corrections
   from 2001 to 2003, and the New York City (NYC) Department of Correction from 2009 to
   2014. Previously, I served as Warden of a city jail in St. Louis City, Missouri, from 1989 to
   1993, and Assistant Commissioner for Program Services in the NYC Department of
   Correction from 1985 to 1989. As Warden, I administered the jail’s work program, and as
   Assistant Commissioner, the Department’s work release program.

10. I was the Director of two state correctional systems, the Missouri Department of Corrections
    from 1993 to 2001, and the Arizona Department of Corrections from 2003 to 2009. Both
    state systems offered job training programs, work programs, and work release. During my
    tenure as Director of the Missouri Department of Corrections, I also served as Vice Chair of
    the state’s Sentencing Commission. During my tenure in Missouri, I received the Association
    of Correctional Administrators’ Award for Outstanding Leadership. During my tenure in
    Arizona, ours was the first correctional system in the country to receive the Innovations in
    American Government award for a prison-based reform. We received the award for Getting
    Ready, a systemwide pre-release preparation initiative imbued with norms and values
    mirroring those of the community, in which all inmates participated from the first to last day
    of their incarceration.

11. I was Senior Advisor to DHS Secretary Janet Napolitano on ICE Detention and Removal,
    and the founding Director of the ICE Office of Detention Policy and Planning in 2009.




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    During my tenure I authored the 2009 Report on ICE Detention Policies and Practices: A
    Recommended Course of Action for Systems Reform, focusing on seven key areas of
    operation: population, detention, and programs management, alternatives to detention, health
    care, special populations, and accountability.1 The recommended reforms were aimed at
    decriminalizing ICE detention and realigning ICE activities with immigration case law
    establishing immigration infractions as civil, not criminal. DHS adopted my report in its
    entirety as its template for immigration detention reform.

12. I was a member of the adjunct faculties of University of Missouri-St. Louis Department of
    Criminology from 1990 to 1998, St. Louis University School of Law from 2000 to 2002, and
    Arizona State University Sandra Day O’Connor School of Law from 2005 to 2008.

13. I am knowledgeable about the case law impacting pre-trial and sentenced populations and
    civil detainees, and the American Correctional Association (ACA) and ICE Performance-
    Based and National Detention Standards (PBNDS). I participated in the development of the
    American Bar Association (ABA)’s professional standards for state and local correctional
    systems and federal immigration detention.

14. I am knowledgeable about the operation of criminal pre-trial and sentenced correctional
    facilities and immigration detention centers and the people in the custody of both systems.

15. I have served as a Corrections and Immigration Detention expert and consultant, working
    with the California Department of Justice; the Hampton County, Massachusetts, Sheriff’s
    Department; Disability Rights California; and Human Rights First. I am currently engaged by
    the California Department of Justice, St. Louis University School of Law Clinic, and the
    Southern Poverty Law Center.

16. A complete and correct Résumé, which includes a list of my publications from the last ten
    years, and related professional affiliations and recognition, is attached as Appendix A.

                             Prior Testimony and Current Compensation

17. In the previous four years, I have testified as an expert by deposition in the matters of
    Endicott v. Hurley et al., No. 2:14-CV-107 DDN (E.D. Mo.) in 2020, and Doe v. Senger et
    al., No. 20-cv-3217-DPR (W.D. Mo.) in 2021.




1
 Dora Schriro, Dep’t of Homeland Sec., Immigr. and Customs Enf’t, Immigration Detention Overview and
Recommendations (Oct. 6, 2009), available at https://www.ice.gov/doclib/about/offices/odpp/pdf/ice-detention-
rpt.pdf.




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18. I am providing my expert services in this matter at the rate of $225 per hour for research,
    telephone conferences, report writing, preparing for testimony, and at the rate of $1,500 per
    day for court and deposition testimony, and facility inspections and travel. Attorneys for
    Plaintiffs have also agreed to pay reasonable expenses related to preparing this report and
    testifying in this case, such as travel expenses.

                                    Reasons and Basis for Opinion

19. In preparing this Report, I reviewed the documents listed in Appendix B, including
    transcripts of the depositions taken in this matter, toured SDC on June 17, 2021, conducted
    interviews with putative class members, listed in Appendix C, who were currently detained at
    SDC on June 17 and 18, 2021, and reviewed the sworn declarations of Named Plaintiffs
    Wilhen Hill Barrientos, Gonzalo Bermudez Gutiérrez, and Keysler Urbina Rojas, attached
    hereto in Appendix B.

20. My analysis is ongoing, and my conclusions are based on information currently available to
    me. If any additional information or testimony—including from any of the other experts in
    this matter—becomes available to me, I reserve the right to consider such information and to
    supplement this report and my opinions, as appropriate. I also reserve the right to
    supplement my report in light of any additional fact discovery, opinions by other experts,
    and/or trial testimony, and to respond to other experts and the testimony of any fact
    witnesses.

I.      Overview

21. ICE has more people in its custody annually than any correctional system in the United
    States. In 2019, ICE booked-in over 500,000 detainees and by early 2020, detained
    approximately 50,000 people daily. Since the onset of the COVID-19 pandemic and
    subsequent actions by ICE pursuant to Centers for Disease Control and Prevention (CDC)
    Guidance and court orders, ICE’s overall census has dropped considerably and only recently
    has begun to rise. In 2021, ICE booked-in fewer than 200,000 detainees, and its average daily
    population, about 21,500, was less than half than the year before.2 Unlike correctional
    systems, however, ICE does not operate any of the facilities used to detain the people in its
    custody; instead, it secures most of the space and all the detention staff and services from the
    private sector by means of contracts and from state and local government through




2
 Dep’t of Homeland Sec., Immigr. and Customs Enf’t, Detention Management, https://www.ice.gov/detain/detention-
management (providing ICE detention statistics for FFY 2019 through 2022).




                                                      4
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          intergovernmental service agreements (IGSA). Currently, ICE utilizes 142 facilities
          nationwide, including 20 dedicated (ICE-only) and 122 non-dedicated (shared use) facilities.3

22. ICE secures detention beds by means of multi-year agreements with its providers, with
    provisions for both fixed and marginal expenses.




                               .4
                                          .5

23. SDC is a dedicated (ICE-only) facility, owned and operated by CoreCivic, a private
    corporation. With a current operating capacity of 1,966 beds, 6 SDC is ICE’s second largest
    adult detention center. Before the COVID-19 pandemic, SDC’s average daily population
    (ADP) was 1,911 all male detainees and its average length of stay (ALOS) was 50 days in
    Federal Fiscal Year (FFY) 2019.7 Since the onset of the pandemic, SDC continues to be one
    of ICE’s most utilized facilities albeit on a much smaller scale. In FFY 2020, its ADP was
    1,351 detainees8 and its ALOS, 51 days. In FFY 2021, SDC’s ADP continued to fall to 778
    detainees, including 160 females, and its ALOS continued to rise to 60 days.9 In FFY 2022,
    its ADP more than doubled to 1,159 detainees, including 387 females, as of December 6,
    2021, while its ALOS, nearly halved to 38 days, as of December 6, 2021.10




3
    Id.
4
                            (CCBVA0000000446) at 3.
5
                             (CCBVA0000149758) at 2.
6
  SDC’s capacity was 1,524 beds in 2006. In 2008, CoreCivic and ICE modified the agreement expanding the facility
by 400 beds, raising the capacity to 1,924. By 2018, CoreCivic had increased SDC’s capacity to 1,966 beds.
7
  Dep’t of Homeland Sec., Immigr. and Customs Enf’t, Detention Management, https://www.ice.gov/detain/detention-
management (providing ICE detention statistics for FY 2019 through 2022).
8
  Id.
9
  Id.
10
   Id. (FY 2022 data last updated Dec. 6, 2021).




                                                       5
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     Table 1: SDC Avg. Length of Stay and Avg. Daily Population

                                                  •   ALOS (days)    •   ADP

            2.000   ~--        ----                           -               -------        ---        -   80




            1.500




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             500                                                                                  -         20




                                                                                                 -          o




                                                        Federal Fiscal Year

       Table 1:
                                                                                                   Note, most years'
       data reflects the ADP and ALOS at the time in the FFY when those reports were published. No ALOS data was
       produced for 2010, 2014, or 2021.


24. ill 2006, ICE contracted for use of SDC by means of an filter-Governmental Service
    Agreement (IGSA) with Stewaii County, Georgia, thereby bypassing the competitive bidding
    process, which the federal government requires when procuring goods or services from
    nongovernmental entities .11 Stewa1i County contrncts with CoreCivic for the use and
    operation of SDC.




11   Jun. 3, 2006 Inter-Govemmental Service Agreement, Stewart County, GA (CCBVA0000000340).
12                            (CCBVA0000149842) at 2.




                                                             6
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                  13
                       For example, ICE paid Stewart County $665,610 in 2017, $666,834 in 2018,
      and                     , for its “administrative activities.”14

25. SDC is one of 47 facilities protected by ICE’s “guaranteed minimum” provision. SDC is
    guaranteed payment for 1,600 beds each day, whether or not those beds are filled. SDC’s
    maximum capacity is 1,966 detainees.

26.

                                                                     .15
                                                                       current warden Russell
      Washburn testified that CoreCivic staffs SDC at a level estimated to be 430-435 FTE
      positions to house 1,752 detainees at a cost to ICE not exceeding CoreCivic’s contractual
      agreement to house 1,600 detainees.16

27. CoreCivic subcontracts with Trinity Services Group, Inc. (Trinity) to provide food service at
    a number of CoreCivic facilities, including SDC. Trinity’s staff at SDC consists of ten FTE
    positions, including a Food Service Director (FSD), an Assistant Food Service Director
    (AFSD), and eight Food Service Workers (FSWs) whose job is to direct the activities of 140
    detainees who are assigned to prepare and serve all the meals.




                                                           .17 Although according to Trinity, it is not
      their practice to bill SDC for failing to do so,18 CoreCivic nevertheless goes to extraordinary
      lengths to ensure there are enough detainee kitchen workers because they perform 90 percent
      of all the kitchen work.19



13

(CCBVA0000001321).
14
   2017 CoreCivic Monthly Billing Summaries (PLS_0000155); Stewart County, Georgia, Independent Auditor’s
Report for the Year Ending December 31, 2018, available http://www.stewartcountyga.gov/PDF-
docs/StewartCounty2018Audit.pdf;                                               (STEW0000139).
15
   Jun. 3, 2006 IGSA (CCBVA0000000340) (referencing “[t]he number of employees needed to directly engage in
the housing and detention of detainees”).
16
   CoreCivic 30(b)(6) Designee Russell Washburn Deposition Transcript (Dec. 1, 2021) at 57:5-20, 62:24-63:9,
118:24-119:12; see, e.g.                    (CCBVA0000280787) (
       ).
17
                                                                     (TRINITY00000396) at 11-12;
                                                (CCBVA0000117636) at 10.
18
   Trinity 30(b)(6) Designee Susan Huffman Deposition Transcript (July 14, 2021) at 91:14-16.
19
   Id. at 89:22-25.




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28. CoreCivic operates a commissary at SDC.
                                                                                CoreCivic marks up
                                                                          20
     the prices of all the commissary items as high as 30 percent, except postage stamps which
     must be sold at face value and telephone calls which cannot exceed FCC’s rate for inmate
     telephone service.21 CoreCivic pays for the commissary overhead (e.g., commissary
     inventory, supplies, and staff’s salaries) with commissary profits. Any residual profits are
     deposited into a detainee welfare fund with which recreation equipment, religious supplies,
     cable service, movies, video game consoles, ice coolers, and the like are funded. CoreCivic
     also uses the welfare fund to purchase the incentives offered in the detained workers’ housing
     units, including additional televisions, video games, movies, and popcorn.22




                                        .23

29. All told, CoreCivic depends on detainee labor in four essential areas of its operation at SDC:
    Food Service, Environmental Health and Safety, Personal Hygiene, and Commissary.


                                                                   CoreCivic also staffs Special
     Projects with detainee workers, primarily, paint crews, crews that wax and buff floors, and
     work on maintenance and repair projects throughout the facility. There have been occasions
     when SDC had appreciably more workers than its plan allowed.

                                                            .24

30. In 2006, CoreCivic, as operator of SDC, was required to comply with ICE’s National
    Detention Standards (NDS).25 In 2008, ICE introduced PBNDS, which CoreCivic was




20
   CoreCivic Policy 2.6, Inmate/Resident Commissary Operations, Nov. 1. 2013 (CCBVA0000003777) at 2.
21
   Apr. 27, 2017 IGSA Mod. (CCBVA0000000945) at 3.
22
   Bethany Brazier Deposition Transcript (Nov. 18, 2021) at 84:21-87:24, 201:6-17; Washburn Dep. Tr. (Dec. 1,
2021) at 315:12-317:4; see also                          (CCBVA0000280509).
23
   See 2009 – 2021 SDC Budget (CCBVA0000280509); Feb. 9, 2016 IGSA Mod. (CCBVA0000000439) (
                             ).
24
                                (CCBVA0000006060) at 148.
25
   2000 National Detention Standards Operations Manual (CCBVA0000000340); Jun. 3, 2006 IGSA
(CCBVA0000000340) at 1 (requiring compliance with “the most current edition[] of ICE Detention
Requirements”).




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     required to comply with pursuant to the original IGSA.26 In 2011, ICE promulgated PBNDS
     2011, and modified its agreement with Stewart County, requiring CoreCivic to comply with
     PBNDS 2011.27 ICE revised PBNDS 2011 in 2016,

                       .28 Chief among the criteria that ICE uses to assess CoreCivic’s
     performance is the extent to which operations at SDC complied with NDS and PBNDS 2008
     and 2011 and now, 2011 (2016 rev.).29

31. PBNDS 5.8 Voluntary Work Program,30 previously, PBNDS 33 Voluntary Work Program,31
    requires CoreCivic to operate a voluntary work program for the benefit of the detained
    population. The VWP’s purpose and scope are to provide detainees with opportunities to
    work and earn money while detained to spend, save, or send home, subject to the number of
    opportunities available and within the constraints of the safety, security and good order of the
    facility. When the work program operates as intended, essential facility operations and
    services are enhanced through detainee productivity, and the negative impact of detention is
    reduced through decreased idleness, improved morale, and fewer disciplinary incidents.32
    ICE’s only qualification as to the voluntary nature of detainees’ work is the expectation that
    all detainees shall maintain the immediate area around their bed.33 ICE made no substantive
    changes to the PBNDS 5.8 Voluntary Work Program when it introduced performance-based
    standards in 2008 or updated some of them in 2011, but it did make two revisions to PBNDS
    5.8 in 2016, one allowing detainees to grieve their loss of a work assignment and the other,
    accommodating disabled and limited English proficient (LEP) detainees so that they could
    participate in the work program, too. See Appendix D, Table 7, comparing the 2008, 2011
    and 2016 versions of PBNDS 5.8.




26
   2008 Operations Manual ICE Performance-Based National Detention Standards (CCBVA0000001968), full text
available at https://www.ice.gov/detention-standards/2008; Jun. 3, 2006 IGSA (CCBVA0000000340) at 1
(requiring compliance with “the most current edition[] of ICE Detention Requirements).
27
   2011 Performance-Based National Detention Standards Operations Manual (CCBVA0000002851); Jun. 12, 2013
IGSA Mod. (CCBVA0000000368).
28
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317);
              (CCBVA0000000449).
29
   Hereinafter, “ICE detention standards” refers to all applicable versions of NDS and PBNDS.
30
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 385 (5.8
Voluntary Work Program).
31
   2008 IRO/DRO Detention Standard, Voluntary Work Program (CCBVA0000002364).
32
   See 2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 385 (5.8
Voluntary Work Program); 2008 IRO/DRO Detention Standard, Voluntary Work Program (CCBVA0000002364).
33
   This is limited to four tasks: 1. making one’s bed daily; 2. stacking loose papers; 3. keeping the floor around their
bed free of debris and dividers free of clutter; and 4. refraining from hanging/draping clothing, pictures, keepsakes,
or other objects from the bed, overhead lighting fixtures or other furniture. See 2011 Performance-Based National
Detention Standards, 2016 Revisions (CCBVA0000003317) at 386.




                                                           9
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 32. When SDC opened in 2006, CoreCivic issued Policy 19-100, Inmate/Resident Work
     Program to implement ICE’s VWP.34 CoreCivic has reissued Policy 19-100 four times since
     then in 2010,35 2012,36 2013,37 and 2017,38 primarily to update detainee worker wages.
     Initially, detainees’ pay was set at $1 per day from October 1, 2006, to October 31, 2012,39
     and then $1 to $3 per day from November 1, 2012, to August 15, 2017,40 and at least $1 per
     day from August 16, 201741 to date. Intermittently, CoreCivic has also compensated some
     detainee workers at SDC with pre-paid phone cards or phone time, both in addition to and in
     lieu of wages.42

 33. When CoreCivic contracted to detain people in ICE custody at SDC, it became bound to
     comply with ICE detention standards.43 CoreCivic has consistently failed to do so. As
     discussed further herein, CoreCivic at SDC does not comply with either PBNDS 5.8
     Voluntary Work Program or other detention standards that establish parameters for the VWP,

                             .44

II.      The Plaintiffs

 34. The three Named Plaintiffs and class representatives in this matter are Messrs. Wilhen Hill
     Barrientos, Gonzalo Bermudez Gutiérrez, and Keysler Ramón Urbina Rojas. All three men
     participated in SDC’s VWP without many of the protections that PBNDS promises, most
     fundamentally, that VWP participation is always voluntary, and no one may be asked or
     agree to perform or be punished for refusing to do any work that ICE policies prohibit.




 34
    Oct. 1, 2006 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003929).
 35
    Apr. 25, 2010 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003932).
 36
    Nov. 1, 2012 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003937).
 37
    Mar. 13, 2013 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003942).
 38
    Aug. 16, 2017 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003947).
 39
    Oct. 1, 2006 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003929); April 25, 2010 SDC,
 Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003932).
 40
    Nov. 1, 2012 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003937).
 41
    Aug. 16, 2017 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003947).
 42
    Nov. 6, 2017 Email from S. Walton re: Phone Time (CCBVA0000152098); Jan. 6, 2014 Email from S.
 Richardson re: Four $5 phone cards; Freddie Hood Deposition Transcript (Oct. 22, 2021) at 109:25-112:14; Decl. of
 Wilhen Hill Barrientos at ¶21.
 43
    Jun. 3, 2006 IGSA (CCBVA0000000340) at 1 (requiring compliance with “the most current edition[] of ICE
 Detention Requirements); see also 2011 Performance-Based National Detention Standards, 2016 Revisions
 (CCBVA0000003317) at 385 (noting that all Voluntary Work Program provisions apply to IGSA facilities, including
 italicized provisions, which apply to dedicated IGSA facilities).
 44
    See                            (CCBVA0000274977).




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35. Mr. Wilhen Hill Barrientos, a low-custody detainee, was detained intermittently at SDC
    between July 2015 and June 2018.45

36. Mr. Hill Barrientos worked in the kitchen, preparing meals, washing dishes, and dispensing
    meal trays on the serving line.46 He did not volunteer to participate in the VWP; he was told
    that if he did not do so, he would be put in segregation.47 Mr. Hill Barrientos often worked
    as many as seven days a week.48 Prior to March 2018, Mr. Hill Barrientos received $4 a day,
    and when he worked 12 hours, he received $5.49 When he worked six days in a week, he
    received a $5 pre-paid phone card in addition to his pay.50 After March 2018, he was paid $1
    when he worked less than six hours a day, $4 when he worked six hours, $5 when he worked
    eight or more but less than 12 hours, and $8 when he worked 12 or more hours.51

37. All his earnings were deposited into his commissary account. Mr. Hill Barrientos used his
    wages to purchase necessities – hygiene products, serviceable underwear and socks and
    warm clothes,52 food, postage stamps and phone cards from the commissary, his only option
    – most of which was marked up 30 percent, the most that ICE allowed, and much of which
    CoreCivic was obligated to provide at no cost to detainees.53 PBNDS 4.1 Food Service
    promises all detainees are provided a nutritionally balanced diet, 54 and PBNDS 4.5 Personal
    Hygiene assures all detainees can maintain acceptable personal hygiene practices by
    replacing depleted personal hygiene items.55 CoreCivic did neither.56 Mr. Hill Barrientos was
    hungry much of the time and could not make do with the sample-sized toiletries he was
    issued.57 CoreCivic even refused to provide Mr. Hill Barrientos toilet paper. On one
    occasion, an officer told him to use his fingers to clean himself.58

38.




45
   Hill Barrientos Decl. at ¶ 2.
46
   Id. at ¶ 8.
47
   Id. at ¶7.
48
   Id. at ¶ 22.
49
   Id. at ¶ 20.
50
   Id. at ¶ 21.
51
   Id. at ¶ 20.
52
   Id. at ¶5.
53
   Id. at 23.
54
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 232 (PBNDS 4.1
Food Service).
55
   Id. at 307 (PBNDS 4.5 Personal Hygiene).
56
   Hill Barrientos Decl. at ¶¶ 5, 10-12.
57
   Id. at ¶¶ 4, 12.
58
   Id. at ¶ 6.




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                                                                            .59 On one occasion,
     shortly after he filed a grievance about being forced to work when ill, he was moved to
     “medical” segregation for two months, purportedly for chicken pox which he had already had
     and could not contract again.60

39. Mr. Hill Barrientos was denied access to the law library to prepare for his court appearances,
    visits with his family, and medical care and forced to work instead.61 CoreCivic officers
    threatened him with segregation and loss of commissary privileges if he did not go to work.62

40. CoreCivic violated PBNDS 5.8 for threatening to punish Mr. Hill Barrientos for refusing to
    work and PBNDS 2.2 Custody Classification System for
                                      .63 And CoreCivic may have violated PBNDS 6.2
    Grievance System for retaliating against him when he complained and filed a grievance.64

41. According to Mr. Hill Barrientos’ testimony, he was not a voluntary participant in the SDC
    VWP. He worked to pay for basic necessities that CoreCivic refused to provide. CoreCivic
    further ensured his participation with threats of physical restraint, serious harm, and violation
    of ICE detention standards.65

42. Mr. Gonzalo Bermudez Gutiérrez, a medium-custody detainee, was detained at SDC from
    May 2019 to January 2020.66 During his time at SDC, Mr. Bermudez Gutiérrez worked in
    Food Service, washing dishes, serving meals, and cleaning the chow hall and the kitchen.67
    During his detention, he usually worked six-hour shifts every day, seven days every week.
    CoreCivic paid Mr. Bermudez Gutiérrez $4 a day.68 All his earnings were deposited into his
    commissary account.69




59
                                     ; (CCBVA0000173966);
(CCBVA0000152247).
60
   Barrientos Decl. at ¶ 34.
61
   Id. at ¶¶ 14-16.
62
   Id. at ¶¶ 13, 28-32.
63
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 64 (PBNDS 2.2
Custody Classification System) (prohibiting commingling of high custody detainees with low custody detainees); see
also                                     (CCBVA0000173966);
(CCBVA0000152247).
64
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 394 (PBNDS 6.2
Grievance System).
65
   Barrientos Decl. at ¶¶ 7, 13-19, 28-33, 36.
66
   Decl. of Gonzalo Bermudez Gutiérrez at ¶2.
67
   Id. at ¶26.
68
   Id. at ¶28.
69
   See id. at ¶29.




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43. Mr. Bermudez Gutiérrez lost about 20 pounds during his detention and was frequently
    hungry.70 Mr. Bermudez Gutiérrez bought food items like ramen noodles to stave off his
    hunger, as well as hygiene products, postage stamps, and prepaid phone cards from the
    commissary.71

44. Mr. Bermudez Gutiérrez was assigned to a celled workers’ housing unit that provided
    incentives such as an extra television and later bedtimes.72 There, he witnessed detention
    officers move detainees who were removed from the work program to regular housing
    units.73

45. According to Mr. Bermudez Gutiérrez’s testimony, he worked to pay for basic necessities
    that CoreCivic denied him.74 And he witnessed CoreCivic threaten to transfer detainees who
    refused to work to open dorms or segregation and revoke their commissary access,75 contrary
    to ICE detention standards.

46. Mr. Keysler Ramón Urbina Rojas, also a low-custody detainee, was detained at SDC
    between 2015 and 2016.76 During his time at the facility, Mr. Urbina Rojas worked in Food
    Service.77 Generally, he worked seven days a week, about eight hours every day.78 Mr.
    Urbina Rojas was supposed to be paid $3 or $4 a day but there were days when he worked
    and was not paid anything.79

47. As a participant in the SDC VWP, Mr. Urbina Rojas was mistreated by Trinity staff and
    detention officers assigned to Food Service.80 He also witnessed another detainee be sent to
    segregation for refusing to work or perform a task.81 Trinity staff yelled at Mr. Urbina Rojas
    and called him names, contrary to PBNDS 2.13 Staff-Detainee Communication.82




70
   Id. at ¶19.
71
   Id. at ¶¶20-21.
72
   Id. at ¶11.
73
   Id. at ¶¶14, 25.
74
   Id. at ¶¶20-21.
75
   Id. at ¶¶35-36.
76
   Decl. of Keysler Urbina Rojas at ¶2.
77
   Id. at ¶25.
78
   Id. at ¶27.
79
   Id. at ¶¶27-28.
80
   Id. at ¶¶31-34.
81
   Id. at ¶40.
82
   Id. at ¶32; 2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 192
(PBNDS 2.13 Staff-Detainee Communication) (requiring detention officers and supervisors to interact informally and
formally with detainees in the housing units and other areas of the facility about their living and working conditions).




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48. Mr. Urbina Rojas and the other detainee workers were also threatened with time in
    segregation, lock-down in their housing units, and revocation of phone and commissary
    privileges if they refused to work.85 Mr. Urbina Rojas was put in disciplinary segregation for
    about one day on one occasion when he refused to complete tasks that went beyond his usual
    assignment, a misunderstanding on his part, an opportunity for counseling but not an
    occasion for punishment.86 And, while he was in segregation, he got smaller servings of food
    than the portions detainees are served in the chow hall,87 although both PBNDS 4.1 Food
    Service88 and PBNDS 2.12 Special Management Unit89 state emphatically food shall never
    be used as a form of punishment and ordinarily, the general and special populations’ menu is
    the same.

49. On several occasions, when Mr. Urbina Rojas and other detainees did not go to work,
    CoreCivic locked down their housing unit, cut off their phone access, required everyone to
    remain on their beds, and threatened to disperse pepper spray if they failed to comply, a form
    of excessive force PBNDS 2.15 Use of Force and Restraints permits only when “escalating
    tension makes such action unavoidable.”90 The lockdowns usually remained in effect for two
    to four days.91 CoreCivic apparently imposed lockdowns as a form of punishment without
    due process, in violation of PBNDS 3.1.92

50. While detained at SDC, Mr. Urbina Rojas lost about 20 pounds and was often hungry.93 He
    lacked basic hygiene items and other necessities. He needed the money he earned working in




83
                                                                       (CCBVA0000152053).
84
                                                           (CCBVA0000151705).
85
   Urbina Rojas Decl. at ¶¶42, 44-45.
86
   Id. at ¶¶34-35; 2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at
387-88 (PBNDS 5.8 Voluntary Work Program).
87
   Urbina Rojas Decl. at ¶35.
88
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 232 (PBNDS 4.1
Food Service).
89
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 187 (PBNDS
2.12 Special Management Unit).
90
    Urbina Rojas Decl. at ¶37; 2011 Performance-Based National Detention Standards, 2016 Revisions
(CCBVA0000003317) at 204 (2.15 Use of Force and Restraints); see also id. at 209 (“Physical force shall only be
used, when both necessary and reasonable.”).
91
   Urbina Rojas Decl. at ¶38.
92
   2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 218 (PBNDS
3.1, Discipline System).
93
   Urbina Rojas Decl. at ¶¶12, 16.




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       the kitchen to purchase food, hygiene products, and phone cards from the commissary; most
       of these items the facility should have provided at no cost.94

 51. Mr. Urbina Rojas worked to pay for basic necessities that CoreCivic was obligated to provide
     and to avoid punishment.95

III.     CoreCivic’s VWP at SDC Violates Operative Policies and Standards Designed to
         Ensure Its Voluntariness

 A. People in immigration detention cannot be forced to work.

 52. Immigration detention may not operate as criminal jails and prisons. There is a tendency to
     conflate people in the civil immigration system with the criminal population, largely due to
     ICE’s and private prison companies’, such as CoreCivic’s, decisions to detain people in
     immigration proceedings in jails and prisons, facilities whose design and construction,
     staffing plans, and population management strategies are premised on the criminal justice
     system’s principles of command and control. It is not only my opinion but also a matter of
     law that immigration detention should be unlike criminal incarceration.

 53. CoreCivic, which operates pre-trial and post-conviction criminal jails and prisons as well as
     immigration detention centers, implements a number of its corporate policies uniformly
     across all types of facilities.96 This blurring of the civil and criminal systems, and conflation
     of the people in civil and criminal custody, the purpose for their confinement pending a civil
     or criminal outcome, and the policies by which each is guided, result in a high degree of
     restrictiveness in most immigration detention facilities, including SDC, which in my opinion
     and experience, is unfounded.

 54. Whereas the majority of pre-trial and sentenced prisoners are quite familiar with the criminal
     justice system and have been previously incarcerated, the majority of immigration detainees
     have no or minor criminal histories, only the minority charged or convicted of serious crimes,
     and many have had no prior contact with ICE. In FFY 2021, 54 percent of SDC’s average




 94
    Id. at ¶¶14-15, 17, 20, 23, 45.
 95
    Urbina Rojas Decl. at ¶¶44-45.
 96
    See Washburn Dep. Tr. (Dec. 1, 2021) at 188:20-189:8, 239:6-12; Washburn Dep. Tr. (Dec. 2, 2021) at 359:22-
 360:20, 363:20-364:23;
                                  ); see also, e.g., Inmate Resident Commissary Operations, Policy 2-6
 (CCBVA0000003772) (referring to people as “inmates” and “residents”);
                      (CCBVA0000003799) (
                   ).




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        daily population (416 of 769 detainees) had no criminal charges or convictions. An additional
        17 percent (130 of 769) had minor charges or convictions some time ago. Just 29 percent
        (223 of 769) have had more recent or more serious charges or convictions.97

   55. In my experience with detainees during my work at DHS, as an expert and consultant, and as
       a member of the ABA Commission on Immigration, most detainees with whom I have
       spoken who have a criminal record readily admit fault and accept responsibility. They are
       forthcoming about their past and are clear that time they served in criminal prison was the
       punishment for their crime. Having completed their sentence prior to being detained by ICE,
       they are also quick to point out that immigration detention is not supposed to be punitive but
       overall, their time in ICE’s custody is appreciably harsher than was their incarceration.

   56. Most of those who have had no prior encounters with law enforcement know little about our
       criminal justice system and fewer still are knowledgeable about immigration proceedings. In
       immigration proceedings, counsel is not provided to those who do not have the means to
       secure representation and limited English language proficiency often further impedes
       immigrants’ ability to navigate our civil immigration system.

   57. As SDC only houses people who are detained for alleged violations of civil immigration law,
       compelling detained people to work at SDC is unlawful. The administration of a work
       program in prisons, jails, and immigration detention centers must be consistent with the
       Thirteenth Amendment to the U.S. Constitution, which generally prohibits slavery except “as
       punishment for crime whereof the party shall have been duly convicted.” Thus, secured
       facility administrators, including those at SDC, cannot compel people who are detained
       pretrial or pending an outcome in civil immigration proceedings to work.

B. CoreCivic’s policy at SDC violates a key tenant of its Agreement with ICE to comply with
   ICE’s detention standards including the prohibition on compelling people in its custody to
   work.

   58. As written, CoreCivic’s Resident Work Program Policy 19-10098 and the SDC Detainee
       Handbook Supplement99 appear to be consistent with PBNDS 5.8 Voluntary Work Program.
       As a matter of practice, however, neither CoreCivic’s policy nor the SDC Detainee




   97
      Dep’t of Homeland Sec., Immigr. and Customs Enf’t, Detention Management,
   https://www.ice.gov/detain/detention-management (providing ICE detention statistics for FY 2021).
   98
      See August 16, 2017 SDC, Policy 19-100, Inmate/Resident Work Programs (CCBVA0000003947).
   99
      See SDC Detainee Handbook Supplement (CCBVA0000000244).




                                                         16
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      Handbook Supplement conforms with ICE detention standards and CoreCivic’s contractual
      requirements. 100

59. ICE’s VWP is intended to be a voluntary. CoreCivic’s policies and practices have led to a
    VWP that, in my opinion, does not comply with ICE detention standards’ requirement of
    voluntariness. Whereas ICE requires that CoreCivic shall provide detainees the opportunity
    to participate in a VWP,101 CoreCivic is operating SDC and the VWP in a way that likely
    compels detainees to work.

      1. CoreCivic Violates ICE’s Prohibition on Punishing Detainees for Refusal to Work

60. PBNDS 3.1 Disciplinary System requires a disciplinary system that promotes a fair and
    equitable system of justice.102 Based on my review of documents and testimony provided in
    this case, it appears that CoreCivic routinely disregards PBNDS 5.8 Voluntary Work
    Program and 3.1 Disciplinary System because CoreCivic misuses the discipline process to
    punish or threaten to punish individuals who refuse to work. These violations manifest in
    CoreCivic’s apparently arbitrary application of certain offense codes, including 214;
    CoreCivic’s failure to ensure a detained individual’s right to due process is met; CoreCivic’s
    use and threatened use of segregation; and CoreCivic’s practice of reporting individuals
    awaiting sick call as refusing to work.

61. SDC staff routinely threaten to punish detainee workers who are unwilling to work double
    shifts and days off or are unable to work their scheduled shift due to fatigue or illness. These
    threats have included being sent to segregation.103

62. CoreCivic staff also threaten to withhold privileges, including commissary, phone calls,
    visitation, and outdoor recreation, apparently without the requisite due process embodied in
    PBNDS 3.1104 and even when the privilege withheld bears no relationship to the alleged



100
    In addition to violating ICE’s work program-related detention standards at Stewart, CoreCivic also violates ACA
standards for Adult Local Detention Facilities (ADLF), which CoreCivic is required to comply with pursuant to the
Stewart IGSA unless an ACA provision conflicts with ICE detention standards in which case, the ICE detention
standards always prevails. For the reasons discussed herein, CoreCivic also fails to comply with the ACA’s
requirement that civil immigration detainees are not required to work. Am. Corr. Ass’n, Performance-Based Standards
for Adult Local Detention Facilities (4th ed.), Jun. 2006, and 2016 Standards Supplement, 4-ALDF-5C-08.
101
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 386 (PBNDS
5.8 Voluntary Work Program).
102
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 218 (PBNDS
3.1 Disciplinary Policy).
103
    See, e.g., Hill Barrientos Decl. at ¶¶7, 13, 28-31; Urbina Rojas Decl. at ¶¶6, 40-44; Bermudez Gutierrez Decl. at
¶¶36-37.
104
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 218 (PBNDS
3.1 Disciplinary Policy).




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      misconduct.105

                                                         .106

63. These practices violate the PBNDS because a detainee worker may only be disciplined for
    infractions of the disciplinary code, and not for refusing to work or for poor work
    performance.107 In my experience, performance deficiencies that cannot be corrected with
    counseling should be addressed by removing the worker from that detail, but not punishment.

64. CoreCivic abuses the disciplinary charge, 214. Encouraging Others to Participate in a Work
    Stoppage or Refuse to Work, designated by ICE as a “high” category offense for which
    detainees may be sentenced to as many as 30 days in segregation.108 CoreCivic also cites
    detainees who refuse to work with other violation codes, such as 307 – Refusal to Obey.109

65.




           110




                                                                                                       .111


                                                                     112




105
    See, e.g., Hill Barrientos Decl. at ¶¶32-33; Urbina Rojas Decl. at ¶¶37, 44; Bermudez Gutierrez Decl at ¶¶35-36.
106
                                                                                        (CCBVA0000230006).
107
                                                                        (CCBVA0000189779).
108
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 228 (listing
“high” level offenses and possible penalties, including segregation, loss of privileges (e.g., commissary, recreation,
etc.), change in housing, removal from the work program, and loss of job).
109
    See, e.g.,                                                                   (CCBVA0000283036)


             ).
110
                                                                   (CCBVA0000180751).
111
                                                                (CCBVA0000058153).
112
                                                                       (CCBVA0000190048).




                                                         18
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66. It is my opinion that offenses involving punishment as severe as segregation, housing
    transfer, loss of privileges, and criminal prosecution should be clearly defined and uniformly
    applied. That does not appear to be the case at SDC with regard to violation 214 for “work
    stoppage or refusal to work” or 307 for “refusal to obey,” likely resulting in disciplinary
    charges against detainees who simply refuse to work.113

67. Based on my review of the documents and testimony provided in this matter, there appears to
    be no mechanism for detainees to “resign,” and there is no termination in good standing. The
    absence of a process by which to quit the VWP likely results in more detainees being
    disciplined for refusing to work. Detainees are also not informed whether they may request
    reassignment, how to withdraw from the program in good standing,114 or the bases for their
    removal. PBNDS 5.8 provides a detainee may be removed from a work detail but not the
    work program for cause, specifically unsatisfactory performance, disruptive behavior, threats
    to security, etc., physical inability to perform essential elements due to a medical condition or
    lack of strength, prevention of injuries to the detainee, and/or a removal sanction imposed by
    the disciplinary panel for an infraction of a related facility rule, regulation or policy.115
    Effective December 2016, ICE amended PBNDS 5.8 adding that a detainee may grieve to the
    local ICE Field Office Director (FOD) or the Facility Administrator his removal from the
    program if he believes it was unfairly decided in violation of PBNDS 6.2 Grievance
    System.116
                     .117 And neither SDC’s Detainee Voluntary Work Program Agreement,
    Detainee Job Request Form, nor its Voluntary Kitchen Work Program form,118 informs
    detainees of their right to appeal, nor does the ICE Detainee Handbook or SDC’s
    Supplemental Handbook address requests for work reassignments, resignations in good
    standing or the reasons for removal from a work detail.




113
   Troy Pollock Deposition Transcript (Sept. 30, 2021) at 148:18-149:8 (defining “work stoppage” as, “When a
detainee or group of detainees refuse to go to work, stop working,” including even when “a single detainee stops
working.”);


                                                                                                     ); Droudred
Blackmon Deposition Transcript (Oct. 14, 2021) at 43:14-44:6 (defining “work stoppage” as “one or – or several
offenders encouraging others, telling them that they – they cannot – that we're not going to work”).
114
    See Hill Barrientos Decl. at ¶24.
115
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 388 (PBNDS
5.8 Voluntary Work Program).
116
    Id. at 394 (PBNDS 6.2 Grievance System).
117
                                             (CCBVA0000195784).
118
     Detainee Job Request Form (CCBVA0000004676); Detainee Voluntary Work Program Agreement
(CCBVA0000190452).




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68. I also reviewed documents showing that CoreCivic staff reports detainees waiting for sick
    call as having refused to work.119 Detainees have the right to request healthcare and SDC has
    the responsibility to provide it. Misrepresenting detainees’ access to care to which they are
    entitled as refusals to work is a violation of PBNDS 4.3 Medical Care.120

69.
                          121




                                                    PBNDS 2.2 Custody Classification System
      requires all security assessments shall be based on objective, verifiable information, not
      personal opinion.122



70. CoreCivic’s abuse of the disciplinary process to compel work also impacts, or threatens to
    impact, detainees’ conditions of detention and their immigration proceedings by driving up
    their custody classification level. Each sustained disciplinary infraction in detention
    involving violence or behavior representing a threat to the facility adds two points to
    detainee’s custody score.123

71. A low custody detainee may have no more than a total score of two points; a medium-low
    custody detainee, a total of three to five points; a medium-high custody detainee, no arrests
    or convictions for a violent offense and a total score of six to 11 points or an arrest or
    conviction for a violent offense and a total score of zero to six points; and a high custody
    detainee, no arrests or convictions for a violent offense and a total score of 12 or more points
    or an arrest or conviction for a violent offense and a total score of seven or more points.




119
                                                               (CCBVA0000189988); see also Hill Barrientos at ¶¶17,
18.
120
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 261 (PBNDS
4.3 Medical Care) (“This detention standard ensures that detainees have access to appropriate and necessary
medical, dental and mental health care, including emergency services . . . Detainees shall be able to request health
services on a daily basis and shall receive timely follow-up.”).
121
                                                                 (CCBVA0000151705).
122
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 66 (PBNDS
2.2 Custody Classification System) (“Staff shall reference facts and other objective, credible evidence documented
in the detainee’s A-file, work-folders, ICE automated records systems, criminal history checks, or other objective
sources of information. Relevant considerations include any current criminal offense(s), past criminal offense(s),
escape(s), institutional disciplinary history, documented violent episode(s) and/or incident(s), medical information
or a history of victimization. Personal opinion, including opinions based on profiling, familiarity or personal
experience, may not be considered in detainee classification.”).
123
    Id. at 71-73 (PBNDS 2.2, Appendix 2.2.A: ICE Custody Classification Worksheet).




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72. Over time, SDC erroneously charged a number of detainees who did not report to work with
    fomenting a work stoppage including those who had a court date, were waiting for sick call,
    had not been paid for days they had worked, or were too tired after working more than
    PBNDS 5.8 allows. The change in their designation and custody classification caused them
    to suffer comparable deprivations.

73. In sum, it is my opinion that CoreCivic misuses the discipline process to punish or threaten to
    punish individuals who refuse to work by means such as arbitrarily applying certain offense
    codes, including 214; failing to ensure a detained individual’s right to due process is met;
    using and threatening to use segregation and loss of privileges; and reporting individuals
    awaiting sick call as refusing to work.
2. CoreCivic Does Not Comply with ICE’s Requirements Regarding VWP Hours, Schedules, and
Pay

74. Based on my review of documents and testimony provided in this case, it appears that
    CoreCivic routinely violates ICE’s detention standards limiting the number of hours and days
    detainees can work and setting parameters on when and how detainees are paid. It is my
    opinion that such violations contribute to the involuntary nature of the VWP at SDC because
    they create an environment where there are virtually no limits on the use of detainee labor.

75. SDC VWP participants frequently work more than a “normal” workday and workweek.
    Whereas ICE mandates no VWP participant shall work more than eight hours a day and five
    days a week, many SDC participants routinely work more than one detail a day, double
    shifts, and six or seven days per week.125




124
                                                                    (CCBVA0000190048).
125
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 387 (PBNDS
5.8 Voluntary Work Program).




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76.




77. ICE detention standards require CoreCivic staff at SDC to adhere detainees’ work
    schedules.127 Based on my review of the documents and testimony provided in this matter, it
    appears that they often do not.

                                                                                                     .128

78. Trinity staff also fails to adhere to detainee work schedules, in violation of ICE detention
    standards.
                                                                                      .129

                                                  .130

                                                         131
                                                      CoreCivic is frequently unable to provide
      Trinity with as many detainee workers as it committed.
                                                                                   .132




           ”133 This practice violates PBNDS 5.8.

79.




126
                                            (CCBVA0000190326);
(CCBVA0000190338).
127
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 387 (PBNDS
5.8 Voluntary Work Program).
128
    Id.;                                                                     (CCBVA0000189928);
                                               (CCBVA0000189905); F
                  CCBVA0000190037);
(CCBVA0000189749).
129
                                                       (CCBVA0000189770).
130
                                                                (CCBVA0000190040).
131
                                                               (CCBVA0000189855).
132
    See, e.g.,                                                                     (CCBVA0000269230).
133
                                                                                  (CCBVA0000189798).




                                                   22
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                  134
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80. CoreCivic does not consistently pay all VWP participants. ICE requires detainees receive
    monetary compensation for work performed, at least $1 per day. PBNDS 5.8 notes the
    customary practice is to pay detainees at the end of each workday.136 CoreCivic’s practice is
    to pay detained workers a day or two after they have completed a shift, and sometimes even
    later when there is an intervening weekend or holiday.

81. CoreCivic not only requires detainees to work in excess of 40 hours weekly, but it does not
    pay them all the money they should have earned.


           137


           138



82. Additionally, CoreCivic does not pay detainees all the money they earned before they are
    discharged. PBNDS 5.8 requires every facility ensure all detainee workers are paid in full
    before their departure.139

                                                               140




134
                                                                     (CCBVA0000232829).
135
136
    Apr. 2016 ICE ERO, National Detainee Handbook (CCBVA0000000001) at 12.
137
                                                     (CCBVA0000196177); see also Washburn Dep. Tr. (Dec.
1, 2021) at 250:17-25.
138
                                                            (CCBVA0000190040).
139
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 387 (5.8
Voluntary Work Program).
140
                                                         (CCBVA0000198559).




                                                  23
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83. CoreCivic improperly compensates some detainee workers with pre-paid phone cards or
    phone time.

                                                         .146 Using pre-paid cards contravenes
       PBNDS 5.8 which requires detainees’ wages are monetary and posted to their accounts
       timely, affording detainees the opportunity to spend their wages on anything sold in the
       commissary, send them home, or save them for their release. The phone cards issued at SDC
       expire in 90 days and cannot be used for anything else at SDC or anywhere other than SDC.

84. CoreCivic also does not timely pay detainee workers.




                                147



85. SDC custody staff fail to complete the paperwork so that every detainee is credited for all the
    shifts or assignments they work and paid in full and on time.

                                                                              .149

                                                                           ”150

86. CoreCivic also improperly compensates kitchen workers with amenities that are not provided
    to other workers or the general population. The amenities that only some detainee workers



141
                                (CCBVA0000174272).
142
                                (CCBVA0000174233).
143
                                            (CCBVA0000191057).
144
                                                  (CCBVA0000196090).
145
                                                       (CCBVA0000118618).
146
                                                 (CCBVA0000152088).
147
      See, e.g.,                                      (CCBVA0000197130);
                             (CCBVA0000189950);
(CCBVA0000197367);                                                     (CCBVA0000205491).
148
                                                                     (CCBVA0000189967).
149
                                                (CCBVA0000189923).
150
                                                      (CCBVA0000197851).




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      have had include video games, additional televisions (TVs), movies and passive recreation
      activities – puzzles, cards, board games, and art supplies, keeping the TVs on during count,
      and the opportunity occasionally to order take-out food with funds from their individual
      commissary accounts.151 In my experience, ordinarily, if amenities such as these are
      available, anyone whose institutional conduct is good or who participates in programming
      would have access to them. Enrollment in the VWP, much less an assignment to Food
      Service only, should not be the basis for eligibility. It is my opinion that good institutional
      conduct –which in the context of immigration detention is maintaining one’s immediate
      space around their bed, good hygiene with adequate supplies, and complying with facility
      rules –should be the basis to partake in amenities facility-wide, not participation in the VWP.

87. These violations of ICE’s requirements that detainee workers be paid monetarily and timely,
    that they not be permitted to work 40 hours per week, and that their work schedules be set
    and adhered to contribute to the involuntary nature of the VWP at SDC.


3. CoreCivic Does Not Comply with ICE’s Limitations on the VWP Eligibility Based on
Classification Level

88. To help ensure the maximum number of detainee workers, CoreCivic uses higher custody
    detainees at SDC to fill labor shortages despite ICE classification restrictions. ICE
    established custody classification and the specific job requirements as the primary factors in
    hiring a detainee as a worker. PBNDS 5.8 states, “Generally, higher custody detainees shall
    not be given work opportunities outside their housing unit.”152 PBNDS 2.2 Custody
    Classification System is more direct and restrictive, “High custody detainees shall not be
    assigned work duties outside their assigned living areas.”153 PBNDS 2.2 states explicitly high
    custody detainees are considered high-risk, require medium- to maximum-security housing,
    must always be monitored and escorted, and may not be co-mingled with low custody
    detainees.154




151
                                                                            (CCBVA0000189876);
                                                      (CCBVA0000189801); Washburn Dep. Tr. (Dec. 1, 2021) at
251:24-253:2; Hood Dep. Tr. (Oct. 22, 2021) at 26:20-27:17; Terrance Lane Deposition Transcript (Oct. 5, 2021) at
59:7-22, 61:21-24.
152
     2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 386 (5.8
Voluntary Work Program).
153
    Id. at 68-69 (2.2 Custody Classification System).
154
     Id.




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 Table 2. SDC ADP by Custody Classification & ALOS, FFY 2019, FFY 2020, FFY2021 155
 FFY2019                            FFY2020                        FFY2021
                                Avera2e L en2th of Stay (ALOS) in days
 45 days                            51 days                         60 days
                         Avera2e Daily Population (ADP' b y Custody Classification
 1, 150 low custody         1,46 613 low custody            869     389 low custody         487
 (60%)                      5       (45%)                   (64     (51%)
 315 low-medium             (77     256 medium-low          %)     98 low-medium            (64%)
 (17%)                      %)      (19%)                           (1 3%)
 238 medium-high             446 254 medium-high            482     131 medium-high         281
 (12%)                      (23     (19%)                   (36     (17%)                   (36%)
 208 high                   %)      228 high                %)      150 high
 (11%)                              (17%)                           (1 9%)
           1,911 (1 00%)                   1,351 (100%)                        768 (1 00%
 Table 2: The darker shaded ar eas highlight the numbers and percentages of lower risk detainees.
 The lighter shaded areas highlight the numbers and percentages of higher risk detainees.
 Ordinarily, ICE only allows lower custody detainees to work outside their housing units.

89. CoreCivic depends on higher custody detainees to fill many of its work slots regardless. As
    Table 2 illustrates, SDC 's census an d distribution of detainees by custody classification
    varies over time, impacting both the population 's overall average length of stay an d the
    availability of lower custody detainees to work outside th eir housing units, and especially in
    Food Service.

90. Cunent conditions increase the likelihood that CoreCivic will continue to comingle lower
    and higher custody detainee workers. Although there are fewer eligible workers available
    now than before due to a population decrease at SDC, 156 CoreCivic still depends upon
    detainees to do its work.

                                        157



                                                                 158



                               159




155
    Dep't of Homeland Sec., Immigr. and Customs Enft, Detention Management,
https://www.ice.gov/detain/detention-management (providing ICE detention statistics for FY 2019 through 2022).
156
    See supra Table 1.
157                                                      (CCBVAOOOOl 79848).
158

(CCBVA000021 7508).
159                                                                                (CCBVA0000230006).




                                                      26
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91.
                                                                                                        160
                                                                      161
                162                                                         163
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         ,165                                                                                        166



92. In my opinion, CoreCivic violates ICE’s limitations on VWP eligibility based on
    classification level. With a waiver from ICE permitting high-custody detainees to work in the
    kitchen, CoreCivic continued to violate ICE standards by comingling detainees of varied
    custody levels. These violations help to guarantee the maximum number of detainee workers
    at SDC.


4. CoreCivic Does Not Comply with ICE’s COVID-19 Restrictions on the VWP

93. CoreCivic has also failed to comply with ICE’s limitations on the VWP during COVID-19.
    Early in March 2020, the World Health Organization declared SARS-CoV-2, also known as
    COVID-19, a global pandemic. Later that month, the CDC issued its first Interim Guidance
    on Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention
    Facilities (CDC Guidance).167 In April 2020, ICE issued its Pandemic Response
    Requirements (PRR), Version 1.0, to implement the CDC Guidance. ICE issued its most
    recent version, Version 7.0, in October 2021. According to the PRR, SDC, a dedicated
    detention facility, must comply fully with PBNDS 2011 (rev. 2016) and CDC’s Guidance.
    CoreCivic admits it has failed to comply with the PRR’s modifications to PBNDS 5.8 at
    SDC.168



160
                                                               (CCBVA0000240744).
161
                                                                        (CCBVA0000247234).
162
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 196 (PBNDS
2.14 Tool Control).
163
                                                                                   (CCBVA0000190347);
see also                                (CCBVA0000326945) (
164
                                              (CCBVA0000118690) at 4.
165
                                         (CCBVA0000118634) at 4.
166
                                                 (CCBVA0000271041)


167
    Centers for Disease Control and Prevention, Interim Guidance on Management of Coronavirus Disease 2019
(COVID-19) in Correctional and Detention Facilities, https://www.cdc.gov/coronavirus/2019-
ncov/community/correction-detention/guidance-correctional-detention.html.
168
    Washburn Dep. Tr. (Dec. 1, 2021) at 232:23-236:6.




                                                     27
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94. ICE/ERO Pandemic Response Requirements Version 1.0.169 In April 2020, ICE suspended
    Voluntary Work Assignments for detainees assigned to food service.

                       .170

95. ICE/ERO Pandemic Response Requirements Version 2.0.171 In June 2020, ICE suspended
    any other VWP assignment that could not be performed with the requisite six feet of social
    distancing and directed all detainee workers wear appropriate PPE during work hours. ICE
    also prohibited detainees in medical isolation or quarantine from participating in the VWP.

                                                          ,172
                                                                   173



                                                ,174
           .175
                                                                          .176

96. ICE/ERO Pandemic Response Requirements Versions 3.0 through 7.0 were released between
    July 2020 and October 2021. Each version of the PRR has provided that the previous
    provisions concerning the VWP remain in full force and effect.177 Version 7.0 remains in
    effect. CoreCivic has continued to disregard ICE’s instruction.




169
      ICE ERO PRR, Ver. 1, Apr. 10, 2020 (PLS_0005022).
170
                                                                 (CCBVA0000197242); see also
                                                                              (CCBVA0000189927)
171
    ICE ERO, COVID-19 Pandemic Response Requirements, Ver. 2 (Jun. 22, 2020,), available at
https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFacilities-v2.pdf.
172
                                                             (CCBVA0000263419).
173
    See Appendix D, Table 3 (SDC Detainee VWP Assignments).
174
                                                                    (CCBVA0000204245); see also
                                                   (CCBVA0000204245).
175
                                                               (CCBVA0000197463).
176
                                                          (CCBVA0000197242);
                                                             (CCBVA0000262444).
177
     ICE ERO PRR, Ver. 7, Oct. 19, 2021 (PLS_0005040). All versions of ICE’s PRR available at
https://www.ice.gov/coronavirus/prr.




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      Table 3. SDC Detainee VWP Assignments
                    Number Detainee Worker Positions by Date




178
179
180
181
182
183




                                                   29
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      Table 3:




97. SDC has had the sixth greatest number of detainees with confirmed cases of COVID-19 –
    1,077 – and suffered four deaths, more detainee deaths than any other facility to date.187

                                                                                                              .188
                                                                      CoreCivic’s inability to
       operate a viable VWP preceded COVID-19, and it will continue to plague CoreCivic and the
       people in their custody unless substantive changes to the program are made.

98. In sum, at SDC CoreCivic repeatedly violates ICE’s requirements related to the VWP.
    CoreCivic’s continual failure to remedy these requirements, intended to ensure the
    voluntariness of the VWP, strongly suggests the program is run in a manner that is not
    voluntary, but rather is compulsive. These issues also amount to violation of CoreCivic’s
    agreement with ICE and its obligation to all the detainee workers in its custody.

C. CoreCivic persists in these practices because ICE’s oversight of SDC’s activities and
   outcomes is inadequate.




184
185
186


187
      ICE, COVID-19 ICE Detainee Statistics by Facility, Dec. 16, 2021, https://www.ice.gov/coronavirus#detStat.
188
                                                                        (TRINITY00000396) at 11-12;
                                                   (CCBVA0000117636) at 10.




                                                          30
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99. Based on my review of past SDC audits and experience at DHS evaluating ICE’s oversight
    mechanisms, including Nakamoto and ODO audits, ICE’s oversight of CoreCivic is
    deficient. CoreCivic is well aware of the deficiencies in ICE’s oversight, which provides
    them the confidence to violate ICE detention standards.

100. ICE monitors the majority of detention facilities for compliance with its detention
   standards by several means; primarily (a) a cursory annual inspection of facilities with a daily
   average of ten or more detainees by the Nakamoto Group, Inc. (Nakamoto), a private firm
   with which ICE contracts on behalf of ERO, (b) on-site agency monitors assigned by the
   Office of Detention Oversight (ODO), another office within ICE but outside of ERO, to its
   largest facilities and itinerant monitors to some of the others, and (c) more in-depth
   inspections also by the ODO. Individually and collectively, these measures do not suffice.

101. Nakamoto conducts what appears to be a cursory review of an unidentified portion of
   some detention standards and rarely identifies any deficiencies.

                                                                                   .189 In 2020,
      Nakamoto did not identify any components that did not meet the standards.190 In 2021, it
      identified just one deficiency in Correspondence and Other Mail, which it failed to discuss.191
      In each of these three years, Nakamoto merely concluded SDC “Meet Standards.” Members
      of Congress have expressed concern about Nakamoto’s apparent misrepresentation of
      conditions and underreporting of violations and continue to monitor its activities. A number
      of U.S. Senators corresponded with Nakamoto,192 and the House Committee on Homeland
      Security convened several hearings about ICE’s oversight, one of which concerned
      Nakamoto.193 Based on my review of Nakamoto’s audit reports, Nakamoto’s audit tools do
      not look at CoreCivic’s compliance in practice with ICE detention standards as they relate to




189
                                        (CCBVA0000150721);
(CCBVA0000150227) at 3.
190
    2020 Nakamoto Audit (ICE-Barrientos-0534).
191
    2021 Nakamoto Audit Cover Letter, available at
https://www.ice.gov/doclib/facilityInspections/StewartDetCtrGA CL 05-06-2021.pdf; 2021 Nakamoto Detention
Review Summary Form, available at https://www.ice.gov/doclib/facilityInspections/StewartDetCtrGA SIS 05-06-
2021.pdf.
192
    Correspondence, Members of U.S. Senate to Jennifer Nakamoto, Nov. 15, 2018,
https://www.warren.senate.gov/imo/media/doc/2018-11-
16%20Letter%20to%20Nakamoto%20Group%20re%20ICE%20Detention%20Facility%20Inspections.pdf.
193
    U.S. House of Representatives Homeland Security, Oversight, Management and Accountability Subcommittee,
Hearing on Oversight of ICE Detention Facilities: Is DHS Doing Enough? Sep. 26, 2019,
https://homeland.house.gov/oversight-of-ice-detention-facilities-is-dhs-doing-enough.




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      the VWP. Rather, the audit tools look at whether CoreCivic has policies that on their face
      comply with ICE detention standards.194

102. In contrast, ODO has developed a reputation for much better assessments of facilities and
   identification of substantive deficiencies, each of which is described in some detail. In 2019,
   ODO identified 29 deficiencies at SDC including two concerning food service, two about
   environmental health and safety, one concerning personal hygiene, one concerning staff-
   detainee communication, and one regarding the grievance system, two about detainee funds
   and personal property, and one about its special management units. In 2020, ODO identified
   four deficiencies, two concerning admission and release practices, and two concerning
   SDC’s use of custody classification.195


                                                       .196 Still, in many instances, ODO does not go
      far enough, confirming many but not all components of standards are incorporated in
      providers’ policies and not checking to ascertain the extent to which they are faithfully
      executed. Additionally, ICE allocated just enough staff to inspect most facilities once every
      three years since its inception in 2009. Only recently has ODO been able to return to at-risk
      facilities, including SDC, the following year. ODO’s number of onsite monitors is still too
      limited, however, to ensure all deficiencies are detected and every facility makes all the
      changes they committed to make. ICE also fails to follow-up on identified deficiencies and to
      hold its Field Offices and detention facilities accountable for correcting them.

103. In 2014, the U.S. Government Accountability Office (GAO) analyzed ICE’s inspection
   reports and concluded Nakamoto’s results differed appreciably from those of the ODO.197
   ICE acknowledged that it had not considered the differences in their findings and admitted it
   did not know how reliable the information was it had collected.198 The GAO urged ICE to
   assess the information it had collected. ICE continues to produce inexplicably uneven
   outcomes.

104. In 2018, the DHS Office of Inspector General (OIG) revisited the efficacy of ICE’s
   oversight and concluded that despite the addition of ODO’s on-site monitors, conditions of



194
    See, e.g., 2019 Nakamoto Audit Report (CCBVA0000006060) at 26, 146-48.
195
    2020 ODO Audit Report (CCBVA0000150206) at 6.
196
                            (CCBVA0000150947) at 6.
197
    Gov’t Accountability Office, Immigration Detention, Additional Actions Needed to Strengthen Management and
Oversight of Facility Costs and Standards, GAO-15-153 (Oct. 2014), available at https://www.gao.gov/assets/gao-
15-153.pdf.
198
    Id.




                                                      32
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      detention had not improved materially, with some deficiencies remaining unaddressed for
      years.199

105. In 2019, the OIG followed up with another report, and concluded ICE failed to use
   contracting tools to hold facility providers accountable for their unacceptably poor
   performance.200 The OIG noted in particular that ICE repeatedly failed to include a Quality
   Assurance Surveillance Plan (QASP) in most of its detention contracts, requiring facilities to
   meet performance standards or be penalized. At the time, SDC was only one of 28 contracts
   with a QASP, a provision ICE could have used to deduct as much as 20 percent each of
   SDC’s monthly invoice for non-compliance with safety, security, and care provisions in
   PBNDS, and as much as 10 percent each for non-compliance with order, activities, justice,
   administration and management, workforce integrity, and detainee discrimination provisions;
   all told, 100 percent of the monthly invoice.201 Between October 1, 2015, and June 30, 2018,
   ICE imposed financial penalties on only two occasions, despite ODO documenting thousands
   of instances of facilities’ failures to comply with detention standards. Instead, the OIG
   concluded, rather than holding facilities such as SDC accountable by imposing financial
   penalties, ICE issued waivers to ameliorate deficient conditions, as when ICE issued SDC a
   waiver to use higher custody detainees as workers several years after the fact. The OIG also
   noted ICE had failed to put in place a formal policy and procedures to govern its waiver
   process, so it continues to operate today without checks and balances, allowing officials
   without clear authority to grant waivers to continue to do so and once in place, operate
   indefinitely without any periodic review.202
                                                                                                         203

                              .

106. In 2021, the GAO prepared a Report to the House of Representatives’ Committee on
   Homeland Security, at the Chair’s request, assessing in part, the extent to which ICE had
   overseen and enforced the terms and conditions of detention facility contracts and



199
    DHS Office of Inspector Gen’l, ICE’s Inspections and Monitoring of Detention Facilities Do Not Lead to
Sustained Compliance or Systemic Improvements (Jun. 26, 2018), available at
https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf.
200
    DHS Office of Inspector Gen’l, ICE Does Not Fully Use Contracting Tools to Hold Detention Facility
Contractors Accountable for Failing to Meet Performance Standards (Jan. 29, 2019), available at
https://www.oig.dhs.gov/sites/default/files/assets/2019-02/OIG-19-18-Jan19.pdf.
201
    June 12, 2013 IGSA Mod. with Quality Assurance Surveillance Plan with Performance Requirements
(CCBVA000000368) at 4-12.
202
    DHS Office of Inspector Gen’l, ICE Does Not Fully Use Contracting Tools to Hold Detention Facility
Contractors Accountable for Failing to Meet Performance Standards (Jan. 29, 2019), available at
https://www.oig.dhs.gov/sites/default/files/assets/2019-02/OIG-19-18-Jan19.pdf.
203

(CCBVA0000217508).




                                                       33
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      agreements.204 ICE relies on Contracting Officer’s Representatives (CORs), its purchasing
      agents, to oversee detention contracts and agreements. The CORs, of which there are
      relatively few, are assigned to some of ICE’s 24 Field Offices and report to that Field Office
      Director, not to ICE Headquarters, thereby curtailing their independence, which is necessary
      for effective oversight. The GAO identified numerous occasions when a FOD bypassed the
      COR thereby limiting their ability to use contract enforcement tools. Sometime before, in
      2014, the GAO had recommended ICE develop protocols to guide CORs in issuing
      discrepancy reports and imposing appropriate financial provisions where those providers’
      contracts allow, but ICE has not followed through on those recommendations.205

107. ICE is comprised primarily of law enforcement personnel with extensive expertise
   performing removal functions, but not in the day-to-day administration of detention
   facilities.206 ICE prefers removal to relief and relies on detention as the most expeditious
   way to remove the people in its custody. In my opinion, based on my experience and review
   of past audits, CoreCivic is well aware of the deficiencies in ICE’s oversight, which provides
   them the confidence to engage in violations of ICE detention standards, ensuring maximum
   participation in the VWP.

IV.     CoreCivic Relies on Detainee Labor to Perform Essential Operations at SDC

108. CoreCivic relies on detainee labor to perform essential operations at SDC. CoreCivic’s
   staffing policies and practices are evidence that CoreCivic structures the VWP in such a way
   to ensure low labor costs and maximum profit. These policies and practices include chronic
   understaffing, lengthy staff vacancy periods, employing almost as many detainees as
   detention staff, failure to train and adequately supervise and oversee detainee workers, and
   structuring the VWP to ensure detainees are performing the majority of the non-custodial
   tasks necessary to operate the facility.

109.                                                                            ,207




204
    Gov’t Accountability Office, Immigration Detention: Actions Needed to Improve Planning, Documentation, and
Oversight of Detention Facility Contracts (Jan. 2021), available at https://www.gao.gov/assets/gao-21-149.pdf.
205
    Gov’t Accountability Office, Standards for Internal Control in the Federal Government (Sep. 2014), available at
https://www.gao.gov/assets/gao-14-704g.pdf.
206
    Dora Schriro, Dep’t of Homeland Sec., Immigr. and Customs Enf’t, Immigration Detention Overview and
Recommendations (Oct. 6, 2009), available at https://www.ice.gov/doclib/about/offices/odpp/pdf/ice-detention-
rpt.pdf.
207
                            (CCBVA0000105880).




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                  208




110.


                                                         209
                                                                                           210




                                                                                     211



111.


                                  .212

112.




208
      Id.
209
                                               (ICE-Barrientos-6429).
210
                                                (ICE-Barrientos-6428).
211
                                         (ICE-Barrientos-6426).
212
                                                    (CCBVA0000280787- CCBVA0000280801).




                                                35
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      Table 4. SDC's Staffing: Plan213




113.




114.
                                                         . 218




213                                                (CCBVA0000105880) at 4-7.
214
215 The fom Warehouse Supervisor and Warehouse/Co11unissa1y workers are CoreCivic employe.es. CoreCivic pays
their salaries with commissa1y profits. See Brazier Dep. Tr. at 232:23-233:4.
216 All food service staff are Trinity personnel.
217 For a portion of the class period, ICE Health Services Corps provided medical services and medical staffing at

SDC. CoreCivic began providing medical services and staffing at SDC around 2018. See Washburn Dep. Tr. (Dec. 1,
2021) at 82 :2- 18.
218                                                   (CCBVA0000105880) at 4 -7.




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115. CoreCivic has not adequately addressed SDC’s requisite staffing levels, even though
   options exist to do so. CoreCivic sited SDC in a remote location with a limited eligible
   workforce,219


                                                                                                  220 221

      CoreCivic chooses not to pay more than the minimum.


                       SDC cannot compete with other employers in the area, certainly not for the
      most qualified candidates.

116. CoreCivic could close the gap with recruitment efforts such as incentives and higher
   wages


                             223




219
   See Feb. 13, 2017 DHS OIG Detention Oversight 16-047-ISP-ICE (PLS_0004625) (noting that “Stewart has
challenges due to isolated location, which affects a host of issues –understaffing in the ranks of CoreCivic staff,
understaffing and turnover amount ICE ERO staff, and long distance for outside medical care”).
220
221




222
223
            .
224
  See                                                               (CCBVA0000258428,
CCBVA0000258432).




                                                        37
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117.




118. CoreCivic 's staffing policies and practices also indicate a systemic failure to oversee the
   VWP and reveal just how much labor CoreCivic expects from the detainee workforce as
   compared to staff.




119.




                225



 Table 5. Overview, SDC's Detainee VW"P226
 Detainee Work           Slots Work locations                  Designated Wk.             Dedicated DOs
 Assi2nments                                                   Supervisors227




 Table 5:




225 2011 Pe1fonnance-Based National Detention Standards, 2016 Revisions (CCBVA00000033 l 7) at 64 (PBNDS 2.2
Custody Classification System).
226 SDC Classification Housing, Work, and Program Plan, Policy 18-100 (CCBVA0000003918).

m                                                 (CCBVA0000105880) at4-7.




                                                    38
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120.

                    .

121.




122. CoreCivic’s selection, training, and supervision of detainee workers do not suffice. There
   is too much activity, too little oversight, and no opportunity for quality control.


                             228


                                                                     229



123. The consequences are measurable, substantive, and reoccurring. The GAO, OIG, and
   ODO all documented SDC’s failure to sustain a smoothly operating, safe and sanitary
   facility.

124. CoreCivic supplants SDC’s civilian workforce as well as that of Trinity’s with detainee
   workers, further lowering CoreCivic’s overall fixed costs. ICE leaves the overall number and
   positions filled by VWP to CoreCivic’s discretion. CoreCivic, in turn, structures the VWP to
   ensure detainee workers are fulfilling the vast majority of the tasks required to operate the
   facility. For example:
   a.

      b. Detainee porters perform all of SDC’s routine cleaning and sanitation facility-wide,
         except a few areas such as ICE offices,

      c. Detainee commissary workers unload the trucks, stock the shelves, and fill detainee
         orders. Proceeds from detainees’ commissary purchases are used to pay the salaries and
         benefits of SDC’s three civilian commissary/warehouse workers.
      d. Detainee “barbers” cut all the detainees’ hair.
      e. Detainee laundry workers staff SDC’s laundry.




228
                                                         (CCBVA0000197851).
229
                                                       (CCBVA0000189907).




                                                 39
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      f. Special Details of detainee workers periodically wax and buff the floors, paint SDC’s
         interior, and perform scheduled and emergency maintenance and repairs.

125. Warden Washburn, SDC’s current warden and CoreCivic’s Fed. R. Civ. P. 30(b)(6)
   deposition designee, acknowledged that CoreCivic took detainee labor into consideration
   when negotiating the SDC contract, confirming that CoreCivic’s evaluation of the
   profitability of SDC factored in the VWP as a labor source.230

126. CoreCivic’s dependence on the VWP to staff SDC is exemplified in its efforts to recruit
   kitchen workers.

                                                                              PBNDS 4.1 Food
      Service requires the number of detainees assigned to the food service department shall be
      based on a quota developed by the FSA (i.e., the FSD) and approved by SDC’s Facility
      Administrator. The quota shall provide staffing according to actual needs and shall eliminate
      any bias toward over- or understaffing.231
                                                              .”232

127. Food Service detainee work assignments are often some of the most difficult jobs to fill.
   The first shift begins before dawn and the second shift ends after dark with first shift kitchen
   workers expected to rise at 2 a.m. and the second shift not expected to return to their housing
   unit before 6 p.m. The day is long especially for those who work a double shift or on their
   days off, the kitchen is hot, and there is little downtime during workday. Their meal is the
   same as the main line, a diet designed for sedentary adults, and they must wait to the end of
   their shift to eat after everyone else was fed.

128. Overall, the civilians and custody staff assigned to Food Service at SDC appear ill-suited
   for their assignments.




                                                                  .233




230
    Washburn Dep. Tr. (Dec. 1, 2012) at 39:15-23.
231
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 255 (PBNDS
4.1 Food Service).
232
                                                                                  (CCBVA0000057548).
233
                                                             (CCBVA0000058153);
                                      (CCBVA0000060146).




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129. In an effort to attract and retain detainees under these conditions, CoreCivic set aside
   designated housing units for kitchen workers with some amenities not available to other
   workers or the rest of the population, amenities purchased with detainee commissary profits.
   Remaining in that housing unit is conditioned upon continuing to work in Food Service, as
   many hours a day and days a week as directed.

130. To be clear, CoreCivic, not SDC’s detainee workers, is the beneficiary of SDC’s VWP,
   especially with regard to Food Service where its labor costs are significant.


                                                   .234

131. In sum, it is my opinion that CoreCivic created an inordinately large VWP at SDC as a
   substitute for adequate staffing.

V.     It Is CoreCivic’s Policy to Deprive Detained Individuals of Basic Necessities, Which
       Is a Practice that Helps to Ensure the Maximum Number of Participants in SDC’s
       VWP

132. ICE does not require detention facilities to operate a commissary235 and has not issued a
   detention standard to guide commissary operations.236 The only instruction ICE has given
   with regard to these activities, is to detainees, “You do not have to buy anything if you do not
   want to.”237 Based on my review of the documents and testimony provided in this litigation,
   ICE’s instruction is not in practice at SDC. CoreCivic’s failure to provide affordable and
   adequate necessities likely contributes to the VWP’s lack of voluntariness.

133. Detainees cannot count on CoreCivic to provide them with all the items that ICE requires
   each facility issue to every detainee at intake and thereafter, on an as needed basis throughout
   their detention, notably, serviceable clothing, timely replacement of hygiene items, adequate
   food, and basic medical supplies. It is also important to note, detainees have no other means
   to obtain these necessities directly from family and friends or by mail order. Whereas many
   correctional systems allow inmates to purchase items from a mail order company that meets
   requisite security practices to prevent the introduction of contraband and will also accept



234
                                                                  (TRINITY00000396) at 11-12;
                                                (CCBVA0000117636) at 10.
235
    See Apr. 2016 ICE ERO, National Detainee Handbook (CCBVA0000000001).
236
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 342 (PBNDS
5.1 Correspondence and Other Mail).
237
    Apr. 2016 ICE ERO, National Detainee Handbook (CCBVA0000000001) at 12.




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      changes of clothes and shoes for court appearances, CoreCivic has made no provision for
      detainees to receive packages other than legal mail.238 Thus, absent a commissary, detainees
      cannot acquire any of these items by any other means.

134. Both Trinity and CoreCivic benefit from minimizing food service costs. Trinity’s cost to
   prepare a meal has two components, the food and its preparation.


                                                                239




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                       Cost saving measures, especially detainee labor, matter.
                                                                                             ,241

                .242

135. Nearly every detainee I spoke with during the site inspection and the Named Plaintiffs
   report experiencing hunger at SDC.243


                                                                                                       .244




238
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 337 (PBNDS
5.1 Correspondence and Other Mail); Apr. 2016 ICE ERO, National Detainee Handbook (CCBVA0000000001) at
10; SDC Detainee Handbook Supplement (CCBVA0000000244) at 29-30.
239
                                       (CCBVA0000149722).
240
                                                                  (ICE-Barrientos 0012201);
                                  (CCBVA00000196386).
241
                                                                     (CCBVA0000117636) at 5.
242
    Id. at 24 (
                                                                                                          ”).
243
    See Hill Barrientos Decl. at ¶3; Bermudez Gutiérrez Decl. at ¶¶15, 19, 20; Urbina Rojas Decl. at ¶12.
244
                                                                    (CCBVA0000106555, CCBVA0000106561,
CCBVA0000106566, CCBVA0000106572, CCBVA0000106578, CCBVA0000106584).




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136.
             245
                   PBNDS 4.5 Personal Hygiene requires in part, all newly admitted detainees shall
      be issued clean indoor and outdoor, temperature appropriate, size appropriate, presentable
      clothing during in-processing at no cost to the detainee. The standard issue of clothing is at
      least two uniform shirts and two pair of uniform pants or two jumpsuits, two pairs of socks,
      two pairs of underwear, and one pair of facility-issued footwear. Additional clothing shall be
      issued as necessary for changing weather conditions or as seasonally appropriate.246 Staff
      shall also provide detainees personal hygiene items appropriate for their gender including at a
      minimum one bar of bath soap (or equivalent), a comb, tube of toothpaste, toothbrush, bottle
      of shampoo (or equivalent), and a container of skin lotion, and shall replenish supplies as
      needed. ICE also admonishes that the distribution of hygiene items shall not be used as
      reward or punishment.247 In fact, the clothes that CoreCivic issues detainees at SDC are not
      serviceable. Most articles are worn, the fabric is threadbare, and elastic waistbands have lost
      their elasticity.248 Moreover, CoreCivic does not issue t-shirts or jackets, and the facility is
      kept quite cool. Toiletries are travel-sized, only large enough to last several days, and the
      products themselves are inferior; that is, the soap, shampoo, and toothpaste do not work well
      so that it requires more of the product to achieve the intended result.

137. Detainees also must pay just to speak to loved ones while at SDC. Collect calls are an
   option if the recipient is willing and able to accept the call.




                        .249 A detainee who earns $2 a day, as most workers do, would have to
      work an entire 5-day week to speak with someone on the phone for several minutes.

138. The commissary purchases are evidence that CoreCivic is not supplying these basic
   necessities in adequate quantities or in serviceable forms.

             250                          251
                                                                                   .



245
                                                                       (CCBVA0000106555, CCBVA0000106561,
CCBVA0000106566, CCBVA0000106572, CCBVA0000106578, CCBVA0000106584).
246
    2011 Performance-Based National Detention Standards, 2016 Revisions (CCBVA0000003317) at 308 (PBNDS
4.5 Personal Hygiene).
247
    Id. at 308-09.
248
    Washburn Dep. Tr. (Dec. 2, 2021) at 362:4-21 (testifying that CoreCivic only recently stopped issued used
underwear and socks at SDC).
249
                                                                                      (SECURUS _000094).
250
                                                           (CCBVA0000106584).
251
    Id.




                                                     43
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Table 6: 3-Month Snapshot, SDC Detainee Salaries, January – March 2016252
Wages,       Laundry    Commissary     kitchen       Subtotal,     Subtotal,                    All detainee
detainee                                             food service, all other                    wages
work                                                 laundry       wages
assignments                                          commissary




Table 6:




 139. Detainees are not permitted to purchase anything online, and no one outside of SDC is
    allowed to drop off or mail anything to the facility for detainees other than certain documents
    by their legal advisor. Detainees’ only recourse is the Commissary where all the items that
    ICE requires SDC provide detainees at no cost, are marked up to 30 percent,253 the residual
    proceeds of which, if any, are supposed to be applied to the facility’s detainee welfare
    fund.254
                                                                                      .255

 140. In sum, most detainees have no choice but to work to earn enough to purchase essential
    items available to them only at SDC’s commissary.




 252
                                       (CCBVA0000191616) at 9, 14, 15, 17.
 253
     Nov. 1, 2013 CoreCivic Inmate/Resident Commissary Operations, Policy 2-6 (CCBVA0000003777) at 2. Stamps
 are sold at cost. See                                                   (CCBVA0000106584).
 254
     Nov. 1, 2013 CoreCivic Inmate/Resident Commissary Operations, Policy 2-6 (CCBVA0000003777) at 2.
 255
                                                  (CCBVA0000105880) at 4-7.




                                                     44
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                                             Conclusion

 141. Because CoreCivic fails to operate SDC as ICE intended, it does not achieve the VWP’s
    intended outcomes. Essential facility operations and services are not enhanced. The negative
    impact of detention is not diminished. There are more disciplinary incidents, most of them
    arbitrarily imposed, contrary to ICE policy.

 142. Two-thirds of SDC’s population is lower custody and has no work restrictions.256
    Ordinarily, facilities cannot create enough jobs to employ all the detainees who would like to
    work. Instead, CoreCivic created an inordinately large VWP at SDC as a substitute for
    adequate staffing. It pays more per day, as “much” as $4, more than do most other facilities,
    to fill many of these slots and offers incentives to some detained workers like extra food,
    phone time, and dedicated housing units. And still, CoreCivic cannot consistently find and
    keep enough voluntary workers to fill all its slots. The punitive conditions under which
    detainees work are so pervasive as to outweigh any of the “incentives” that SDC offers.

143. Instead of scaling back the number of work slots to the number of eligible volunteers who are
     interested, and increasing SDC’s and Trinity’s staffing levels, CoreCivic secured a waiver
     from ICE allowing high custody detainees to fill VWP slots prohibited by ICE policy and
     contrary to prevailing safety and security practices. And still, CoreCivic cannot consistently
     enroll enough volunteers to fill all its detainee work slots.

144. CoreCivic’s policies and practices indicate that it improperly withholds basic necessities,
     threatens penalties, and imposes punishment. Detainees’ workdays and workweeks are long,
     many of them longer than permitted, their work schedules are continually changing, the work
     is arduous, the supervisors are overbearing, the threat of punishment is ever present, penalties
     are imposed with impunity, and the wages are too low to compensate for CoreCivic’s failure
     to provide essential goods and services notably, personal hygiene items, adequate nutrition,
     and climate appropriate clothes, and to afford phone calls and postage stamps. For now,
     detainees’ only recourse is to continue to purchase these items from the Commissary with the
     little money they earn.

145. It is my opinion that CoreCivic operates the SDC contrary to law, ICE detention standards,
     and its contract with ICE. Regrettably, this has been all about more “beds,” more “bodies,”
     more “bucks.”




 256
       See supra Table 1.




                                                  45
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I swear under penalty of perjury that the foregoing is true and correct.

Respectfully submitted this 22nd day of December 2021.




                                                      __________________________
                                                      Dr. Dora B. Schriro Ed.D., J.D.




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                           Appendix A




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                                                Appendix A
                                     DORA B. SCHRIRO, Ed.D. J.D.
                                          EXECUTIVE EXPERIENCE

State of Connecticut, Middletown CT (2014–2018)
Commissioner, Department of Emergency Services & Public Protection (2014–2018)
CT Homeland Security Advisor (2016–2018), DHS clearance, Top Secret, appointed by Gov. Dannel Malloy
• Responsible for CT State Police, Emergency Management & Homeland Security, Scientific Services,
     Fire Prevention & Control, Police Officer Standards & Training, Statewide Telecommunications
• FY2018 operating budget, $185M; federal grants, $348M; bond funding, $79M; 1817 employees
• Public Safety & Service, Homeland Security, and Emergency Response, Recovery & Resiliency
• Accomplishments: A Comprehensive Procedural Justice Initiative with body-worn cameras for state police
     on patrol, a civilian complaint process, 21st century curricula for state & local police, annual reports of
     uses of force, traffic stops & police pursuits, an investigative protocol for officer-involved shootings, and
     an ICE-interface protocol; Drug Intervention & Enforcement, equipping all troopers and training first
     responders to administer naloxone, and convening a dark-web opioid taskforce; and Other Harm
     Reduction Efforts including a statewide cybersecurity investigative unit and comprehensive gun control

City of New York, New York, New York (2009–2014)
Commissioner, New York City Department of Correction, appointed by Mayor Michael Bloomberg
• Responsible for adult detention, prisoner processing, and operation of criminal court pens, an average
     of 12,000 inmates daily and 100,000 pretrial and city-sentenced inmate admissions annually
• FY2014 operating budget, $1.065B, capital budget, $691.9M; 10,440 employees
• Focus: Special Populations; Intake, Classification and Discharge Planning; Staff Accountability;
     Alternatives to Disciplinary Segregation; Alternatives to Detention
• Accomplishments: 1st U.S. Social Impact Bond funded program, adolescent pre-release initiative; Justice
     Reinvestment funded pre-release preparation for adults; pre-trial & post-plea diversion for the mentally
     ill; comprehensive reform of disciplinary segregation with clinical alternatives for special populations;
     centralized intake with risk & needs classification, gang identification, and discharge planning

US Department of Homeland Security, Washington DC (2009–2009)
Senior Advisor to Secretary on ICE Detention and Removal, appointed by DHS Sec. Janet Napolitano
Director, ICE Office of Detention Policy and Planning, appointed by ICE Asst. Sec. John Morton
• Focus: Design a civil, civil detention system meeting all its health and safety needs and legal requirements
• Authored, 2009 Report on ICE Detention Policies and Practices: A Recommended Course of Action for Systems
    Reform, DHS’ template to transform immigration detention and alternatives to detention
• Opened the Office of Detention Oversight and within the first 100 days, deployed detention experts to the
    field, reassigned facility inspections to occur outside of ERO, brought online the detainee locator and
    death notification systems, undertook review of IHSC, detention standards, and risk assessment, and
    reduced family detention to under 100 beds

State of Arizona, Phoenix, Arizona (2003–2009)
Department Director, Arizona Department of Corrections, appointed by Gov. Janet Napolitano
• Responsible for adult corrections and community supervision including 39,000 inmates and 7,200
     parolees daily and 55,000 felons annually (21,000 admissions/11,500 case openings)
• FY2009 operating budget, $1.23B; 9,750 employees
• Focus: Systems reform, re-entry, victim services, strategic planning, privatization oversight
• Winner, 2008 Innovations in American Government, and its first prison-based reform awards recipient




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City of St. Louis, St. Louis, Missouri (2001–2003)
Commissioner of Corrections, St. Louis City Division of Corrections, appointed by Mayor Francis Slay
• Responsible for adult detention, prisoner processing, and city probation and parole including 1,500 jail
    inmates and 2,000 offenders on supervision daily (9,000 admissions/63,000 bookings annually)
• FY2003 operating budget, $68M; 615 employees
• Focus: Population management, alternative sentencing initiatives, staff development
• Opened and operated the city’s first combined police prisoner processing and detention center

State of Missouri, Jefferson City, Missouri (1993–2001)
Department Director, Missouri Department of Corrections, appointed by Gov. Mel Carnahan
• Responsible for adult corrections and probation and parole services including 28,000 prisoners and
     65,000 offenders on community supervision daily, 35,000 admissions/72,000 case openings annually
• FY2002 operating budget, $500M; 11,000 employees
• Focus: Systems and sentencing reform, litigation reduction, restorative justice, capital construction
• Winner, Council of State Governments Innovations award program, and Innovations in American
     Government 1997 Finalist and 1998, 1999 and 2000 Semi-Finalist

City of St. Louis, St. Louis Missouri (1989–1993)
Correctional Superintendent, St. Louis City Division of Correction, appointed by Mayor Vince Schoemehl
• Responsible for 600 pre-trial and city sentenced inmates, 4,000 admissions annually
• FY1993 operating budget, $26M; 210 employees
• Focus: Court oversight, overcrowding, certified juveniles, community relations

City of New York, New York, New York (1984–1989)
 Assistant Commissioner, New York City Department of Correction, appointed by Mayor Ed Koch
• Responsible for design and delivery of inmate programs services, programs development, grants
• Services provided to 100,000 pre-trial and city sentenced inmates annually by 200 employees
• Focus: Public-funded and accredited education, school-aged inmates; contracts management
Assistant Deputy Director, Office of the Mayor, Coordinator of Criminal Justice
• Grants administration, federal and state funded systems reforms, $189M annually
• Focus: Alternatives to detention, intermediate sanctions, policy analysis, applied research

                                   CONSULTING SERVICES
Dora B. Schriro Consulting Services, LLC (est. 2013), Expert, Corrections and Immigration innovation,
evaluation, and advocacy. Clients include the California Department of Justice, Sheriff’s Department,
Hampton County, Massachusetts, American Civil Liberties Union, Southern Poverty Law Center, Human
Rights First, Disabilities Rights California, and St. Louis University School of Law Clinic.

                                            EDUCATION
St. Louis University, St. Louis, Missouri, Juris Doctorate, School of Law (2002)
Columbia University, New York, New York, Doctor of Education, Teachers College (1984)
University of Massachusetts at Boston, Massachusetts, Master of Education (1980)
Northeastern University, Boston, Massachusetts, Bachelor of Arts cum laude (1972)




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                                MANAGERIAL PROGRAMS
Council of State Governments, Toll Fellowship (2018)
Harvard University, JFK School of Government, Innovations in Governance (2005)
Harvard University, JFK School of Government, Strategic Public Sector Negotiations (1996)
Harvard University, JFK School of Government, Senior Executives in State and Local Government (1992)

                               HONORS AND AWARDS, INNOVATIONS
Innovations in American Government, 2008 Winner, Getting Ready: Keeping Communities Safe
Innovations in American Government, 2000 Semi-finalist, Correcting Corrections
Innovations in American Government, 1999 Semi-finalist, Constituent Services
Innovations in American Government, 1998 Semi-finalist, Pre-Promotional Training
Innovations in American Government, 1997 Finalist, Constituent Services
Council of State Governments, 1998 Innovations Award Winner, Waste Tire to Energy
Council of State Governments, 1997 Innovations Award Regional Finalist, Pre-Promotional Training
Council of State Governments, 1996 Innovations Award Finalist, Constituent Services

                                 OTHER HONORS AND AWARDS
U.S. Department of Justice, Office for Victims of Crime, Allied Professional Award, 2012
Florida Immigrant Advocacy Center, American Justice Award, 2011
Hofstra University (Hempstead, New York) Presidential Medal, 2010
National Governors Association, Distinguished Service to State Government Award, 2006
Arizona Parents of Murdered Children, Filling Empty Shoes, 2006 Honoree
Farmingdale Public Schools (Farmingdale, New York), Wall of Fame, 2001 Inductee
St. Louis Forum, Trailblazer Award, 2000
Association of Correctional Administrators, Michael Francke Award for Outstanding Leadership, 1999
Jefferson City (Missouri) Ten Most Influential Women, 1998
Missouri Governor Award for Quality and Productivity, 1993, 1994, 1995, 1996, 1997, 1998, 1999, 2000
Missouri Governor Torch of Excellence Gold Award, 1999
Missouri Governor Torch of Excellence Award, 1997
International Association of Correctional Training Personnel Award, Pre-Promotional Training, 1996
Women’s Self-Help Center, Twenty Distinguished Women, 1996
St. Louis (Missouri) YWCA Special Leadership Award for a Government Official, 1995
Jefferson City (Missouri) News Tribune Statesman of the Month, June 1995

                        PUBLICATIONS, IMMIGRATION DETENTION REFORM
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System: IIRIRA 20 Years Later (December 2018)
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Critical Perspectives, ed. by Conlon and Hiemstra. Routledge Publishers (2016)
Improving Conditions of Confinement for Immigrant Detainees: Guideposts toward a Civil System of Civil Detention in
The New Deportation Delirium, ed. by Kanstroom and Lykes. NYU Press (2015)
Family Immigration Detention: The Past Cannot be Prologue, ABA Commission on Immigration (2015)




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Criminal Law Review, Georgetown University Law Center (Fall 2010)
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Reform, U.S. Department of Homeland Security (October 2009)
Rethinking Civil Detention and Supervision, Arizona Attorney (July–August 2009)

                                   PUBLICATIONS, CORRECTIONS REFORM
Smart and Safe: Making the Most of Adolescents’ Time in Detention, the Physical Plant, Our Workforce, and the
“What Works’ Literature, in The State of Criminal Justice, American Bar Association (2013)
Corrections: The Justice-Involved Mentally Ill, A Practitioner’s Perspective, in The State of Criminal Justice,
American Bar Association (2012)
Good Science, Good Sense: Making Meaningful Change Happen – A Practitioner’s Perspective, Criminology &
Public Policy, Vol. 11, No. 1, Special Issue (February 2012)
Is Good Time a Good Idea? Federal Sentencing Reporter, Vol. 21, No. 3 (February 2009)
Correcting Corrections: The Arizona Plan: Creating Conditions for Positive Change in Corrections, Confronting
Confinement: A Report of the Commission on Safety and Abuse in American Prisons (2006)
Missouri’s Parallel Universe: Blueprint for Effective Prison Management, Corrections Today (April 2001)
Correcting Corrections: Missouri’s Parallel Universe, Papers from the Executive Sessions on Sentencing and
Corrections, U.S. Department of Justice, Office of Justice Programs (May 2000)
Avoiding Inmate Litigation: The ‘Show-Me’ State Shows How, Sheriff’s Magazine, (March–April 1999)
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Reducing Inmate Litigation, Corrections Today (August 1998)
Corrections Management Quarterly, Issue Editor, Aspen Publications (1997)
Currents, Leadership St. Louis, Danforth Foundation (1992)
What Makes Correctional Education Educational, Journal of Correctional Education (September 1986)
Safe Schools, Sound Schools, ERIC Clearinghouse on Urban Education (January 1985)
What Works with Serious Juvenile Offenders: US Experience, Juvenile Delinquency in Australia (1984)
What Makes Correctional Education Educational: Ethnography of an Instructionally Effective School,
University Microfilm (1983)

STANDARDS, SENTENCING AND RELATED CIVIL-CRIMINAL JUSTICE REFORM ACTIVITIES
Women’s Refugee Commission, Commissioner (2012–2021)
American Bar Association, Commission on Immigration, Special Advisor (2019–2021)
American Bar Association, Commission on Immigration, Advisory Board Member (2017–2019)
American Bar Association, Commission on Immigration, Standards for the Custody, Placement and Care;
Legal Representation, and Adjudication of Unaccompanied Alien Children in the United States (2018)
U.S. Dept. of Homeland Security, DHS Family Residential Ctr. Advisory Committee, member (2015–2016)
American Bar Association, Commission on Immigration, Commissioner (2014–2016)
American Bar Association, Commission on Immigration, Co-chair, Standing Subcommittee on Punitive
Segregation, (2012–2014)
American Bar Association, Commission on Immigration, Civil Detention Standards Task Force (2011–2012)
American Bar Association, Criminal Justice Standards Subcommittee, ACA representative (2005–2008)




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Arizona State University School of Law, Sentencing Policy Seminar (2004–2005)
Arizona Attorney General Sentencing Advisory Committee (2004–2008)
St. Louis University School of Law, Instructor, Sentencing Policy Seminar (2000–2002)
Missouri Sentencing Advisory Commission, Vice Chair (1994–2001)
U.S. Department of Justice Executive Sessions on Sentencing and Corrections, in conjunction with Harvard
University JFK School of Government and University of Minnesota Law School (1997–2000)
Partnership for Criminal Justice Workshop, Institute on Criminal Justice, University of Minnesota Law
School, State Partner (1997–2000)
State Sentencing and Corrections Program, Vera Institute of Justice, National Associate (1999–2002)
U.S. Dept. of Justice, Bureau of Justice Assist., Discretionary Grant Program, Peer Reviewer (1994–2002)

      PRE-DOCTORAL EMPLOYMENT, LECTURING AND RELATED EXPERIENCE
Employment
• Executive Director, Planned Parenthood of Bergen County, Hackensack, New Jersey (1983–1984)
• Director, Correctional Education Consortium, Long Island City, New York (1982–1983)
• Supervising Social Worker, Franklin Public Schools, Franklin, Massachusetts (1978–1981)
• Director, Adult and Continuing Education, Franklin Public Schools, Franklin, MA (1978–1981)
• Director, Staff Development, Wrentham State School, Wrentham, Massachusetts (1977–1978)
• Program Administrator, Medfield-Norfolk Prison Project, Medfield, Massachusetts (1974–1976)

Academic Experience
• Instructor, Arizona State University School of Law, Corrections Law Seminar (2005–2008)
• Instructor, St. Louis University School of Law, Sentencing Policy (2000–2002)
• Senior Policy Fellow, Public Policy Research Center, University of Missouri-St. Louis (2001)
• Visiting Lecturer, Strategic Planning, National Institute of Corrections (1998–2002)
• Adjunct Professor, Criminal Justice, University of Missouri-St. Louis (1990–1998)
• Adjunct Professor, Criminal Justice, Long Island University at CW Post (1986–1988)
• Instructor, Innovation, Open Center of New York City (1987)
• Teaching Assistant, Field Research Methodology, Administrative Intern to the School Superintendent,
   Franklin Public Schools, Franklin, Massachusetts (1979)
• Visiting Lecturer, Special Education, Framingham State College, Framingham, Massachusetts (1979)
• Adjunct Professor, Psychology, Fischer Junior College, Boston, Massachusetts (1978)

Related Activities
• Institutional Research Board, St. Louis University (2002–2003)
• Institutional Research Board, University of Missouri-St. Louis (2001–2003)


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Professional References available upon request




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                           Appendix B




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                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION
CCBVAOOOOOOOOOl
CCBVA0000000029
CCBVA0000000069
CCBVAOOOOOOOl 10
CCBVA0000000152
CCBVA0000000199
CCBVA0000000244
CCBVA0000000286
CCBVA0000000340
CCBVA0000000346
CCBVA0000000349
CCBVA0000000350
CCBVA0000000353
CCBVA0000000354
CCBVA0000000356
CCBVA0000000357
CCBVA0000000361
CCBVA0000000362
CCBVA0000000364
CCBVA0000000367
CCBVA0000000368
CCBVA0000000380
CCBVA0000000392
CCBVA0000000397
CCBVA0000000402
CCBVA0000000405
CCBVA0000000433
CCBVA0000000437
CCBVA0000000438
CCBVA0000000439
CCBVA0000000444
CCBVA0000000446
CCBVA0000000927
CCBVA0000000931
CCBVA0000000945
CCBVA0000000949
CCBVA0000001317

CCBVA0000001321
CCBVA0000001322

CCBVA0000003772




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                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000003777
CCBVA0000003782

CCBVA0000003785
CCBVA0000003799
CCBVA0000003836

CCBVA0000003840

CCBVA0000003844

CCBVA0000003854

CCBVA0000003864

CCBVA0000003874
CCBVA0000003884

CCBVA0000003898

CCBVA0000003906

CCBVA0000003918
CCBVA0000003929
CCBVA0000003932
CCBVA0000003937
CCBVA0000003942
CCBVA0000003947
CCBVA0000003953
CCBVA0000003964
CCBVA0000003965
CCBVA0000003977
CCBVA0000004011
CCBVA0000004101
CCBVA0000004102
CCBVA0000004117
CCBVA0000004127
CCBVA0000004308
CCBVA0000004349
CCBVA0000004350
CCBVA0000004351
CCBVA0000004355


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                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION
CCBVA0000004358
CCBVA0000004398
CCBVA0000004527
CCBVA0000004528
CCBVA0000004529
CCBVA0000004550
CCBVA0000004560
CCBVA0000004617
CCBVA0000004623
CCBVA0000004627
CCBVA0000004631
CCBVA0000004638

CCBVA0000004645
CCBVA0000004649
CCBVA0000004652
CCBVA0000004676
CCBVA0000004685

CCBVA0000004717

CCBVA0000004857

CCBVA0000004974

CCBVA0000005097

CCBVA0000005216
CCBVA0000005461
CCBVA0000005462
CCBVA0000005675
CCBVA0000005820
CCBVA0000005999
CCBVA0000006001
CCBVA0000006060
CCBVA0000006239

CCBVA0000006257
CCBVA0000006258

CCBVA0000006259
CCBVA0000006265




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                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000006266
CCBVA0000006272
CCBVA0000006273
CCBVA0000006284
CCBVA0000006285
CCBVA0000006286
CCBVA0000006287
CCBVA0000006392

CCBVA0000006393
CCBVA0000006399
CCBVA0000006400
CCBVA0000006401
CCBVA0000006402
CCBVA0000006403
CCBVA0000006404
CCBVA0000006405
CCBVA0000006406
CCBVA0000006407
CCBVA0000006408
CCBVA0000006409
CCBVA0000006410
CCBVA0000006411
CCBVA0000006412
CCBVA0000006413
CCBVA0000006414
CCBVA0000006415
CCBVA0000006416
CCBVA0000006417
CCBVA0000006418
CCBVA0000006420

CCBVA0000006420
CCBVA0000006431
CCBVA0000006465
CCBVA0000060884
CCBVA0000104422
CCBVA0000104457
CCBVA0000104599

CCBVA0000105880
CCBVA0000105887


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      Case 4:18-cv-00070-CDL Document 238-19 Filed 07/01/22 Page 59 of 135
                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION
CCBVA0000105893
CCBVA0000105894
CCBVA0000105899
CCBVA0000105900
CCBVA0000105908
CCBVA0000105910
CCBVA0000105912
CCBVA0000105913
CCBVA0000105914
CCBVA0000105921
CCBVA0000105930
CCBVA0000105938
CCBVA0000105946
CCBVA0000105953
CCBVA0000105958

CCBVA0000105959

CCBVA0000105966

CCBVA0000105969

CCBVA0000105974

CCBVA0000105975
CCBVA0000105976
CCBVA0000105980
CCBVAOOOO 106017

CCBVA0000106018

CCBVA0000106019
CCBVA0000106020
CCBVA0000106024
CCBVA0000106051
CCBVA0000106052
CCBVA0000106077
CCBVA0000106079
CCBVA0000106102
CCBVA0000106103

CCBVA0000106118




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                                   Appendix B :
                                Documents Reviewed
BEGINNING BATES I CONTROL NO.           DESCRIPTION

CCBVA0000106121

CCBVA0000106122
CCBVA0000106126
CCBVA0000106126
CCBVA0000106126

CCBVA0000106127
CCBVA0000106129

CCBVAOOOO 106131

CCBVA0000106132
CCBVA0000106133
CCBVA0000106134
CCBVA0000106134
CCBVA0000106135

CCBVA0000106168

CCBVAOOOO 106172

CCBVAOOOO 106173

CCBVAOOOO 10617 6

CCBVAOOOO 106178

CCBVA0000106180

CCBVA0000106183

CCBVA0000106185

CCBVA0000106186

CCBVA0000106187

CCBVA0000106190

CCBVA0000106191




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000106195

CCBVA00001061 96
CCBVA0000106197

CCBVA0000106201
CCBVA0000106207
CCBVA0000106210

CCBVA0000106211
CCBVA0000106229
CCBVA0000106232

CCBVA0000106234

CCBVA0000106251

CCBVA0000106252

CCBVA0000106266

CCBVA0000106280

CCBVA0000106294

CCBVA0000106307
CCBVA0000106308
CCBVA0000106342

CCBVA0000106369
CCBVA0000106381

CCBVA0000106383
CCBVA0000106383

CCBVA0000106385

CCBVA0000106386

CCBVA0000106387
CCBVA0000106388




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000106389

CCBVA0000106397

CCBVA0000106404
CCBVA0000106408
CCBVA0000106409
CCBVA0000106421
CCBVA0000106427
CCBVA0000106433

CCBVA0000106437
CCBVA0000106438
CCBVA0000106442

CCBVA0000106445
CCBVA0000106449
CCBVA0000106452
CCBVA0000106454
CCBVA0000106454
CCBVA0000106456
CCBVA0000106467
CCBVA0000106478

CCBVA0000106479

CCBVA0000106496
CCBVA0000106501
CCBVA0000106502
CCBVA0000106527
CCBVA0000106546
CCBVA0000106551
CCBVA0000106552
CCBVA0000106555
CCBVA0000106561
CCBVA0000106566
CCBVA0000106572
CCBVA0000106578
CCBVA0000106584

CCBVA0000106590




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                               Documents Reviewed
BEGINNING BAT ES I C O NTROL NO.       DESCRIPTION

CCBVA0000106591

CCBVA0000106973
CCBVA0000108352
CCBVA0000108353
CCBVAOOOOl 17636
CCBVAOOOOl 17670
CCBVAOOOOl 17671
CCBVAOOOOl 17672
CCBVAOOOOl 17685
CCBVAOOOOl 17689
CCBVAOOOOl 17882
CCBVAOOOOl 17884
CCBVAOOOOl 17886

CCBVAOOOOl 17892

CCBVAOOOOl 17894

CCBVAOOOOl 17898
CCBVAOOOOl 17900
CCBVAOOOOl 17920
CCBVA00001 18049-CCBVA0000118338

CCBVAOOOOl 18412
CCBVAOOOOl 18422
CCBVAOOOOl 18425
CCBVAOOOOl 18602
CCBVAOOOOl 18618
CCBVAOOOOl 18622
CCBVAOOOOl 18627
CCBVAOOOO 118631
CCBVAOOOOl 18634
CCBVAOOOOl 18639
CCBVAOOOOl 18642
CCBVAOOOOl 18647
CCBVAOOOOl 18650
CCBVAOOOOl 18653
CCBVAOOOOl 18657
CCBVAOOOOl 18661
CCBVAOOOOl 18663
CCBVAOOOOl 18666



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                              Documents Reviewed
BEGINNING BATES I C ONTROL NO.         DESCRIPTION
CCBVAOOOOl 18690
CCBVAOOOOl 18695
CCBVA0000149566
CCBVA0000149587
CCBVA0000149608
CCBVA0000149629
CCBVA0000149648
CCBVA0000149667

CCBVA0000149686
CCBVA0000149688
CCBVA0000149722
CCBVA0000149723
CCBVA0000149724
CCBVA0000149727
CCBVA0000149741
CCBVA0000149745
CCBVA0000149750
CCBVA0000149752
CCBVA0000149758
CCBVA0000149795
CCBVA0000149817
CCBVA0000149820
CCBVA0000149822
CCBVA0000149828
CCBVA0000149842
CCBVA0000149845
CCBVA0000149847
CCBVA0000149850
CCBVA0000149852
CCBVA0000149856
CCBVA0000149860
CCBVA0000149864
CCBVA0000149869
CCBVA0000149873
CCBVA0000149876
CCBVA0000149880
CCBVA0000149884
CCBVA0000149888
CCBVA0000149892
CCBVA0000149897
CCBVA0000149901
CCBVA0000149910


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                              Documents Reviewed
BEGINNING BATES I C ONTROL NO.         DESCRIPTION
CCBVA0000149913
CCBVA0000149922
CCBVA0000149932
CCBVA0000149934
CCBVA0000149937
CCBVA0000149940
CCBVA0000149944
CCBVA0000149948
CCBVA0000149951
CCBVA0000149956

CCBVA0000150032
CCBVA0000150184
CCBVA0000150206
CCBVA0000150215

CCBVA0000150219
CCBVA0000150224

CCBVA0000150227
CCBVA0000150233
CCBVA0000150241

CCBVA0000150254
CCBVA0000150269
CCBVA0000150355
CCBVA0000150356
CCBVA0000150358
CCBVA0000150359
CCBVA0000150360
CCBVA0000150361
CCBVA0000150362
CCBVA0000150363
CCBVA0000150364
CCBVA0000150395
CCBVA0000150466
CCBVA0000150547
CCBVA0000150628
CCBVA0000150697
CCBVA0000150947

CCBVA0000151529




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      Case 4:18-cv-00070-CDL Document 238-19 Filed 07/01/22 Page 66 of 135
                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000151537

CCBVA0000151693

CCBVA0000151698

CCBVA0000151699
CCBVA0000151705
CCBVAOOOO 151709
CCBVA0000151801
CCBVA0000151815

CCBVA0000151850

CCBVA0000151919

CCBVA0000151953

CCBVA0000152007

CCBVA0000152053
CCBVA0000152087

CCBVA0000152088

CCBVA0000152098

CCBVA0000152103
CCBVA0000152246

CCBVA0000152449
CCBVA0000152450
CCBVA0000152458
CCBVA0000152462
CCBVA0000152964
CCBVA0000152989
CCBVA0000159889
CCBVA0000160046

CCBVA0000160083
CCBVA0000160084




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BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000160244

CCBVA0000162819

CCBVA0000163117

CCBVA0000165416

CCBVA0000165418

CCBVAOOOO 171160

CCBVAOOOOl 73259

CCBVA0000173260

CCBVA0000173262

CCBVA0000173959

CCBVA0000173960

CCBVA0000173964



CCBVA0000173970

CCBVA0000173971



CCBVA0000173972

CCBVA0000173973

CCBVA0000174233

CCBVA0000174272

CCBVA0000175959



CCBVAOOOO 177897



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                               Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVAOOOO 178342



CCBVAOOOO 179829

CCBVA0000179837

CCBVAOOOO 179840

CCBVAOOOO 179848

CCBVAOOOO 179925

CCBVA0000180281
CCBVA0000180283
CCBVA0000180283
CCBVA0000180288
CCBVA0000180288
CCBVA0000180289
CCBVA0000180289
CCBVA0000180301

CCBVA0000180306

CCBVA0000180422

CCBVA0000180427
CCBVA0000180430

CCBVA0000180727

CCBVA0000180730

CCBVA0000180741

CCBVA0000180751

CCBVA0000180762

CCBVA0000180774

CCBVA0000180793


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                                Documents Reviewed
BEGINNING BATES I CONTROL NO.           DESCRIPTION

CCBVA000018080

CCBVA000018139

CCBVA000018158

CCBVA000018159



CCBVA000018173

CCBVAOOOO 18173

CCBVAOOOO 1817 4
CCBVAOOOO 1817 4

CCBVAOOOO 1817 4

CCBVAOOOO 1817 5

CCBVA000018176

CCBVAOOOO 18177

CCBVAOOOO 18179

CCBVA000018180

CCBVA000018180

CCBVA000018180

CCBVA000018181

CCBVA000018181

CCBVA000018182

CCBVA000018182

CCBVA000018183




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000181831

CCBVA0000181839

CCBVAOOOO 181851

CCBVA0000182197

CCBVA0000182254

CCBVA0000182274

CCBVA0000182289

CCBVA0000182305

CCBVA0000182307

CCBVA0000182330

CCBVA0000182345

CCBVA0000182358

CCBVA0000182360

CCBVA0000182430

CCBVA0000182440

CCBVA0000182449

CCBVA0000182457

CCBVA0000182466

CCBVA0000182474

CCBVA0000182485

CCBVA0000182500




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000182514

CCBVA0000182529

CCBVA0000182546

CCBVA0000182549

CCBVA0000182552

CCBVA0000182558

CCBVA0000182561

CCBVA0000182561

CCBVA0000182564

CCBVA0000182564

CCBVA0000182571

CCBVA0000182572

CCBVAOOOO 182574

CCBVA0000182580

CCBVA0000182590

CCBVA0000182600

CCBVA0000182612

CCBVAOOOO 182622

CCBVA0000182625

CCBVA0000182627

CCBVA0000182629




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA00001826352

CCBVA0000182781

CCBVA0000182782

CCBVA0000182783



CCBVA0000189749


CCBVA0000189751

CCBVA0000189756



CCBVA0000189765

CCBVA0000189770
                                                                             :
CCBVA0000189771

CCBVA0000189772

CCBVA0000189774

CCBVA0000189777



CCBVA0000189779

CCBVA0000189788

CCBVA0000189790

CCBVA0000189792

CCBVA0000189794

                                                                             :
CCBVA0000189797


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BEGINNING BATES I CONTROL NO.          DESCRIPTION


CCBVA0000189798

CCBVA0000189801
CCBVA0000189805

CCBVA0000189807

CCBVA0000189813
CCBVA0000189815

CCBVA0000189819

CCBVA0000189824

CCBVA0000189828


CCBVA0000189838

CCBVA0000189855


CCBVA0000189859

CCBVA0000189874

CCBVA0000189876

CCBVA0000189888



CCBVA0000189893


CCBVA0000189903

CCBVA0000189905

CCBVA0000189907

CCBVA0000189908


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                                  Appendix B:
                               Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION
CCBVA0000189918

CCBVA0000189920
CCBVA0000189923

CCBVA0000189924




CCBVA0000189927

CCBVA0000189928

CCBVA0000189938



CCBVA0000189966

CCBVA0000189988

CCBVA0000189994

CCBVA0000190007

CCBVAOOOO 190017

CCBVA0000190020

CCBVA0000190025

CCBVA0000190028



CCBVA0000190030



CCBVA0000190032

CCBVA0000190037

CCBVA0000190040




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION


CCBVA0000190042


CCBVA0000190045



CCBVA0000190048
CCBVA0000190139
CCBVA0000190326
CCBVA0000190327


CCBVA0000190337
CCBVA0000190338
CCBVA0000190343
CCBVA0000190345

CCBVA0000190347

CCBVA0000190452

CCBVA0000190734
CCBVA0000191036

CCBVA0000191040

CCBVA0000191049

CCBVA0000191053
CCBVA0000191057
CCBVA0000191062
CCBVA0000191088

CCBVA0000191101
CCBVA0000191615
CCBVA0000191634
CCBVA0000191637

CCBVA0000191638
CCBVA0000191639
CCBVA0000191641


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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION
CCBVA0000191652

CCBVA0000191657
CCBVA0000191663
CCBVA0000191668

CCBVA0000192138


CCBVA0000192152
CCBVA0000193337
CCBVA0000193717
CCBVA0000195731
CCBVA0000195744
CCBVA0000195756
CCBVA0000195759

CCBVA0000195784
CCBVA0000195797
CCBVA0000195804-CCBVA0000195905
CCBVAOOOO 196177

CCBVA0000198559

CCBVA0000198798

CCBVA0000200200

CCBVA0000201264

CCBVA0000202739

CCBVA0000202846

CCBVA0000202875

CCBVA0000205626

CCBVA0000205792

CCBVA0000205855

CCBVA0000208419


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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000209119

CCBVA0000223420

CCBVA0000223421

CCBVA0000223560

CCBVA0000223562

CCBVA0000223616

CCBVA0000223617

CCBVA0000223646

CCBVA0000223647

CCBVA0000223706

CCBVA0000223707

CCBVA0000223735

CCBVA0000223736

CCBVA0000223753

CCBVA0000223754

CCBVA0000223770

CCBVA0000223803

CCBVA0000223824

CCBVA0000223841

CCBVA0000223865

CCBVA0000223905




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000223927

CCBVA0000223949

CCBVA0000223971

CCBVA0000223993

CCBVA0000229903

CCBVA0000230133

CCBVA0000230383

CCBVA0000230465

CCBVA0000233981

CCBVA0000238482

CCBVA0000238483

CCBVA0000238745

CCBVA0000238746

CCBVA0000243357


CCBVA0000244160

CCBVA0000244165

CCBVA0000244179

CCBVA0000244181

CCBVA0000244182

CCBVA0000244183

CCBVA0000244184


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                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION


CCBVA0000244185

CCBVA0000244186

CCBVA0000244197

CCBVA0000244202


CCBVA0000244208



CCBVA0000244213

CCBVA0000244214

CCBVA0000244217

CCBVA0000244223

CCBVA0000244233


CCBVA0000244242

CCBVA0000244249

CCBVA0000244251


CCBVA0000244253



CCBVA0000244268


CCBVA0000244269



CCBVA0000244270




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000244275

CCBVA0000244278

CCBVA0000244284

CCBVA0000244286

CCBVA0000244539

CCBVA0000244544

CCBVA0000248465

CCBVA0000248465

CCBVA0000248469

CCBVA0000248472

CCBVA0000248474

CCBVA0000248494


CCBVA0000248502

CCBVA0000248511

CCBVA0000248513

CCBVA0000248514

CCBVA0000248541

CCBVA0000248551

CCBVA0000248555

CCBVA0000248562

CCBVA0000248565


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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000248573

CCBVA0000248575

CCBVA0000248576

CCBVA0000248578



CCBVA0000248592


CCBVA0000248624

CCBVA0000248629
CCBVA0000248659

CCBVA0000248930

CCBVA0000248936

CCBVA0000248937

CCBVA0000248968

CCBVA0000249213

CCBVA0000249311

CCBVA0000249338

CCBVA0000249342

CCBVA0000249354

CCBVA0000249379

CCBVA0000249390

CCBVA0000249402

CCBVA0000251730


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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000256203

CCBVA0000257365



CCBVA0000257367

CCBVA0000257368
CCBVA0000258428
CCBVA0000258432
CCBVA0000260462
CCBVA0000260463
CCBVA0000260736
CCBVA0000261051
CCBVA0000261052
CCBVA0000261176
CCBVA0000261177
CCBVA0000264485
CCBVA0000269751
CCBVA0000269752
CCBVA0000274578
CCBVA0000274588
CCBVA0000274755-CCBVA0000274889


CCBVA0000274977


CCBVA0000275205
CCBVA0000275216



CCBVA0000275221

CCBVA0000275236


CCBVA0000275429

CCBVA0000275795

CCBVA0000275849


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                                 Appendix B:
                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000276024

CCBVA0000276200

CCBVA0000276368
CCBVA0000276375
CCBVA0000276377

CCBVA0000276379
CCBVA0000276379

CCBVA0000276395

CCBVA0000276572




CCBVA0000277486
CCBVA0000277528

CCBVA0000277528

CCBVA0000277598

CCBVA0000277716

CCBVA0000277793

CCBVA0000277798

CCBVA0000277801

CCBVA0000277803

CCBVA0000277806
CCBVA0000277817
CCBVA0000277818

CCBVA0000277862

CCBVA0000277863




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                              Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION


CCBVA0000277865


CCBVA0000277866
CCBVA0000278158

CCBVA0000278178
CCBVA0000278346
CCBVA0000278368
CCBVA0000278370



CCBVA0000278388

CCBVA0000278447

CCBVA0000278481
CCBVA0000278539

CCBVA0000278540


CCBVA0000278599

CCBVA0000278602
CCBVA0000278603

CCBVA0000278647


CCBVA0000278701



CCBVA0000278710


CCBVA0000278735



CCBVA0000278738




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                                  Appendix B:
                               Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION


CCBVA0000278747



CCBVA0000278772

CCBVA0000278911

CCBVA0000278912
CCBVA0000279917

CCBVA0000279924

CCBVA0000279938



CCBVA0000279948
CCBVA0000279950

CCBVA0000279952
CCBVA0000279961
CCBVA0000279962

CCBVA0000279967

CCBVA0000279981



CCBVA0000280283



CCBVA0000280294

CCBVA0000280469
CCBVA0000280509

CCBVA0000280544

CCBVA0000280554

CCBVA0000280566




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                               Documents Reviewed
BEGINNING BATES I CONTROL NO.          DESCRIPTION

CCBVA0000280579

CCBVA0000280593

CCBVA0000280610

CCBVA0000280627

CCBVA0000280637

CCBVA0000280646

CCBVA0000280651

CCBVA0000280668

CCBVA0000280677

CCBVA0000280681

CCBVA0000280699

CCBVA0000280721

CCBVA0000280739

CCBVA0000280756

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CCBVA0000280798



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BEGINNING BATES I CONTROL NO.            DESCRIPTION
CCBVA0000280799
CCBVA0000280800
CCBVA0000280801
CCBVA0000280802-CCBVA0000282819
CCBVA0000282823-CCBVA0000285593
PLS 0000155                              2016-2018 Billing Summaries

PLS 0000452                              Stewaii Co. Revenue Shai·e Summai·ies
PLS 0000673                              ICE emails about VWP
DHSCRCLOOOOO 1
DHSCRCL000004
DHSCRCL000009

ICE - Banientos - 4420

ICE - BaiTientos - 4577

ICE - Banientos - 4659

ICE - BaiTientos - 4791

ICE - Banientos - 4945

ICE - BaiTientos - 5029

ICE - Banientos - 5110

ICE - BaiTientos - 5191

ICE - Banientos - 5272

ICE - BaiTientos - 5435

ICE - Banientos - 6126

ICE - BaiTientos - 6361




ICE BaiTientos 0024518
ICE-BaiTientos-0256

ICE-Ban-ientos-1891


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BEGINNING BATES I CONTROL NO.           DESCRIPTION
N akamoto--00001
CCBVA0000326946
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CCBVA0000326947
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CCBVA0000326958
CCBVA0000326961
PLS 0000052
STEW0000139
STEW0000151
STEW0000159
SECURUS 000094
SECURUS 000095
TRINITYOOOOOOO 1
TRINITY00000006
TRINITYOOOOOO 11
TRINITYOOOOOO 16
TRINITY00000021

TRINITY00000032
TRINITY00000080
TRINITYOOOOO 169

TRINITY00000230

TRINITY00000267
TRINITY00000396
TRINITY00000552
TRINITY00000558

TRINITY00000564

TRINITY00000570




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BEGINNING BATES I CONTROL NO.          DESCRIPTION

TR1NITY00000588
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TR1NITY00000600
TR1NITY00000618

TR1NITY00000636
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TR1NITY00000678
TR1NITY00000690
TR1NITY00000704
TR1NITY00001338
TRJNITYOOOO 1608
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TR1NITY00001653
TRJNITY-00001664
TRJNITY-00001665
TRJNITY-00002538
TRJNITY-00002540
TRJNITY-00003176
TRJNITY-00003181
TRJNITY-00003188
TRJNITY-00011743
CCBVA0000326945
                                       Dora Schriro, Dep't of Homeland Sec.,
                                       Immigr. and Customs Enf't, Immigration
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                                       https ://www.ice.gov/doclib/about/offices/odp
                                       p/pdf/ice-detention-1pt.pdf.
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                                       Based National Detention Standards
                                       (CCBVA0000001968), full text available at
                                       https ://www.ice.gov/detention-
                                       standards/2008; Jun. 3, 2006 IGSA
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                                       at
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                                       Fonn, available at
                                       https ://www.ice.gov/doclib/facilitylnspection
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                                       Compliance or Systemic Improvements (Jun.
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                                       16%20Lette1%20to%20Nakamoto%20Group
                                       %20re%20ICE%20Detention%20Facility°/o2
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BEGINNING BATES I CONTROL NO.          DESCRIPTION
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                                       Bethany Brazier Nov. 18, 2021 Deposition
                                       Transcript and Exhibits
                                       Calvin Blue Nov. 10, 2021 Deposition
                                       Transcript and Exhibits
                                       Chai·lie Peterson Oct. 18, 2021 Deposition
                                       Transcript and Exhibits
                                       CoreCivic 30(b)(6) Dec. 1 & 2, 2021
                                       Deposition Transcript an d Exhibits
                                       Droudred Blackmon Oct. 14, 2021
                                       Deposition Transcript an d Exhibits
                                       Freddie Hood Oct. 22, 2021 Deposition
                                       Transcript and Exhibts
                                       HaiTell Gray Oct. 27, 2021 Deposition
                                       Transcript and Exhibits
                                       Juliette Drew Dec. 3, 2021 Deposition
                                       Transcript and Exhibits
                                       Jacqueline Nonnan Nov. 15, 2021 Deposition
                                       Transcript and Exhibits
                                       Matthew Moye Oct. 21 , 2021 Deposition
                                       Transcript and Exhibits
                                       Michael Swinton Nov. 2, 2021 Deposition
                                       Transcript and Exhibits
                                       Tenance Lane Oct. 5, 2021 Deposition
                                       Transcript and Exhibits
                                       Troy Pollock Sept. 30, 2021 Deposition
                                       Transcript and Exhibits
                                       Trinity 30(b)(6) July 14 & Aug. 23, 2021
                                       Deposition Transcript an d Exhibits




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                           IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION


 WILHEN HILL BARRIENTOS,
 GONZALO BERMUDEZ GUTIÉRREZ,
 and KEYSLER RAMÓN URBINA
 ROJAS, individually and on behalf of all
 others similarly situated,

                        Plaintiffs,
 v.
                                                       Civil Action No. 4:18-cv-00070-CDL
 CORECIVIC, INC.,

                     Defendant.




                 DECLARATION OF GONZALO BERMUDEZ GUTIÉRREZ

I, Gonzalo Bermudez Gutiérrez, hereby declare and state as follows:

      1. My name is Gonzalo Bermudez Gutiérrez. I am over the age of 18. I am a named

         Plaintiff in this case. I am prepared to testify about the matters discussed in this

         declaration.

      2. I was detained in Stewart Detention Center (SDC), in Lumpkin, Georgia, from May 2019

         to January 2020.

      3. When I arrived at SDC, I went through the intake process. During that process, I

         received a copy of the detainee handbook in English and Spanish.

      4. My understanding was that the detainee handbook included all of the rules of SDC and

         informed you of how to behave while you were detained there. I also understood from the




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   handbook that if I broke any of the listed rules, I could be isolated and separated from the

   other people detained at SDC.

5. At intake I was provided with some basic necessities, like one bottle of combined

   shampoo and soap, and toothpaste. The items were in very small quantities and of poor

   quality. I was also provided with: two sheet covers; one blanket; two pillowcases; three

   pairs of pants, shirts, and socks; two pairs of underwear; one pair of sneakers; and one

   pair of shower shoes.

6. Following intake, I was housed in segregation for a few days until I was transferred to my

   first housing unit, Unit 7.

7. About five days after I was processed into Unit 7, I was told about the Voluntary Work

   Program (“Work Program”). I was told that I could work in the kitchen and receive extra

   food and also make some money to buy necessities like phone time, food, and personal

   hygiene items in the commissary. I signed up to join the Work Program immediately so I

   could get extra food and purchase those items at the commissary.

8. After only a few days at SDC, I understood completely that CoreCivic was controlling

   every aspect of the lives of detained people in SDC. CoreCivic controlled the temperature

   of the pods and the water in the showers. Detention officers woke us up at 4:30-5:00 a.m.

   to go to breakfast and then they told us when we could go to lunch and dinner over the

   course of the day. Because CoreCivic controlled what times the phones started working

   and stopped working, I could only call my family when CoreCivic allowed it. I was well

   aware that CoreCivic was in full control of everybody detained at SDC.

9. I obeyed the rules because I feared being sent to segregation. While housed on Unit 4, I

   learned of several people who were sent to segregation for breaking a rule. I feared



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   segregation because I believed I would lose food and contact with my family. I also

   understood that CoreCivic could report any misbehavior to ICE.

10. During my time at SDC, I was housed in a pod with two-person cells. I was housed in

   Unit 4A. I think these units housed up to 88 people per pod. Each cell had a toilet that

   we shared with our cellmate. All of the people detained on the pod shared showers.

11. A majority of the people in my pod were kitchen workers in the Work Program. Most of

   the people who did not work in the kitchen worked in other departments of the Work

   Program.

12. Because we were in a kitchen workers’ pod, we had several incentives. Our pod had four

   TVs – three for TV and movies and one for video games. If we worked late hours in the

   kitchen, detention officers would allow us to stay up later to shower and call our families.

13. The kitchen workers’ pod was an closed cell pod and I considered this to be a benefit of

   working in the kitchen. I experienced first-hand how loud and disorganized the open cell

   pods were when I delivered food to those pods. I was motivated to continue working in

   order to stay in the closed cell pod because I believed it was safer and I wanted my

   personal belongings and case-related items kept safe. This would not have been possible

   in the open cell pods. I also believed that the open cell pods were unsafe and I wanted to

   remain in the closed cell pods for my own safety.

14. If workers in my pod were removed from the work program, they would be moved to a

   different housing pod. I witnessed this happen multiple times. I viewed this as a

   punishment and as a disciplinary action.

15. CoreCivic did not provide me with enough food at SDC. I was always trying to stave off

   hunger while I was there. The portion sizes were small, the food was bad and repetitive,



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   and the meals were too spread out. As a result, I lost a significant amount of weight

   while I was at SDC. Detention officers would often wake us up for meals but we would

   either have to wait a long time or eat after everyone else had eaten because we had either

   been called to eat too early or too late. We could only eat at the times that they told us we

   could eat. I regularly purchased extra food from the commissary to avoid hunger.

16. The meals at SDC were very spread out. They served us breakfast between 4:30 and 6:30

   a.m.; lunch between 10:30 a.m. and 12:00 p.m.; and dinner between 4:30 and 6:00 p.m.

   Because of this, I was often hungry between meals.

17. There was a weekly menu that changed, but the food items and meals were often the

   same. Because of this, and the spread-out nature of meals, I would supplement my diet

   with oatmeal, tortilla chips, crackers, ramen noodles, and other snacks that I would buy at

   the commissary. I would regularly spend anywhere from $10 to over $40 at the

   commissary.

18. We only received fresh fruit on special occasions. I craved fresh fruit because it is one of

   the only natural and nutritionally adequate foods that I believed to be healthy.

19. I lost over 20 pounds while at SDC due to how little I ate and how poor the food was. I

   was always trying to prevent hunger.

20. I participated in the Work Program at SDC. I joined the Work Program, first and

   foremost, to prevent hunger. I also joined the Work Program to get money to buy items I

   needed at the commissary, such as food, phone cards, stamps, deodorant, shampoo, soap,

   toothpaste, and shirts. If I wasn’t so concerned about preventing hunger, or if I didn’t

   have to buy those items, I would not have joined the Work Program.




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21. Being able to purchase and receive extra food was very important. If I did not have

   access to the commissary food, like ramen, I am not sure I would have survived there.

   Because I was always unsure of when our next meal would be, I was desperate for extra

   food.

22. During my time at SDC, I only received one visit from family and friends because the

   detention center is in a rural area. My nephews from Tennessee were able to visit me, but

   my wife and children were never able to visit me because they lived in Arizona. I felt

   very isolated in SDC.

23. I needed money to buy phone cards and stamps because that was my primary way of

   contacting my loved ones, most of whom lived in Arizona.

24. Family members occasionally put money on my account, but it wasn't enough to buy

   food, phone time, and other necessities because those items in the commissary were

   expensive. I had to use my Work Program wages to buy those items.

25. I was able to join the Work Program easily soon after I arrived at SDC. It is not hard to

   get in because they need detained people to work. A detention officer in my pod told me

   about the program and he had me sign a form in English to join. The officer told me the

   form was to work in the kitchen, and if I didn’t work in the kitchen, I would be moved

   from the kitchen pod. I translated this document for a lot of Work Program workers who

   came after me because I speak English and Spanish. When I translated the document and

   the detention officer’s instructions, I was also instructed to inform detained people that

   they would be moved from the kitchen pod if they decided not to work.

26. I worked in the SDC kitchen during my entire time at SDC. I cooked, washed dishes,

   scrubbed the stove, cleaned the kitchen and the chow hall, and served food on the line. It



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   was difficult work that required heavy lifting. For example, when we made lasagna or

   casseroles, I had to carry very large and heavy pots and pans, which were used to cook

   for an average of 1,500 people. I believed we needed more staff for the kitchen to

   function more efficiently.

27. As a kitchen worker, I also had to deep clean the kitchen before inspections. During

   inspections, the area had to be cleared out. We could not be working while the inspectors

   were present.

28. I generally worked seven days per week for about six hours per day. My pay rate was $4

   per day.

29. CoreCivic was supposed to pay me for every day I worked, but I did not always receive

   my pay on time. Sometimes, up to 10 days passed before I was paid for a shift. When a

   missing pay issue was rectified, my pay was deposited into my commissary account.

30. My regular shift began at 3 p.m. in the afternoon and ended between 8 and 9 p.m.

31. In the kitchen, I was supervised by Trinity employees, Ms. Horsley, Ms. Patterson, Ms.

   King, and others whose names I do not remember.

32. The Trinity supervisors mistreated us.

33. Sometimes, Trinity supervisors would give us extra food at the end of a shift, like an

   apple. Other times they would allow us to search among the leftovers to serve ourselves

   more.

34. The Trinity supervisors also threatened us with discipline if we did not complete our

   work or perform work beyond our regular duties.

35. I witnessed CoreCivic officers discipline detained immigrants who declined to work by

   moving them to different housing units, or threatening to do so, and threatening to revoke



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   their commissary access. Sometimes, these people would be moved the very next day

   after a missed day of work.

36. Based on my experiences and the statements and actions of CoreCivic and Trinity

   employees towards other workers, and the detainee handbook, it was my understanding

   that it was CoreCivic’s policy at SDC to punish us if we did not work, by either cutting

   off our access to commissary or relocating us to another pod. I believed, based on

   conversations I had with others, that being relocated from the kitchen pod often included

   being sent to segregation while CoreCivic determined where to relocate detained people.

37. I continued to work in the work program because, if I refused, I understood I could be

   punished with a transfer to another, less safe and less private housing unit, and also time

   in segregation. Additionally, if I stopped working, I wouldn’t have enough money to

   purchase food, phone time, and other basic necessities in the commissary. I don’t think I

   would have survived in SDC without being able to purchase those items.

38. It is important for me to be a named Plaintiff in this case because CoreCivic had so much

   control over when and how I could access food and communicate with my family, that

   they exploited our labor. It is very important to me to be able to make sure people can get

   the things that they need and I want to make sure no one else is treated the way I was.




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        l declare under penalty of perjury that the foregoing is true and correct.


        Signed this 21st day of December, 2021 in Phoenix, Arizona.




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        Gonzalo Bennudez Gutierrez




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                           IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION


 WILHEN HILL BARRIENTOS,
 GONZALO BERMUDEZ GUTIÉRREZ,
 and KEYSLER RAMÓN URBINA
 ROJAS, individually and on behalf of all
 others similarly situated,

                        Plaintiffs,
 v.
                                                     Civil Action No. 4:18-cv-00070-CDL
 CORECIVIC, INC.,

                     Defendant.




                  DECLARATION OF KEYSLER RAMÓN URBINA ROJAS

I, Keysler Ramón Urbina Rojas, hereby declare and state as follows:

      1. My name is Keysler Ramón Urbina Rojas. I am over the age of 18. I am a named

         Plaintiff in this case. I am prepared to testify about the matters discussed in this

         declaration.

      2. I was detained in Stewart Detention Center (SDC), in Lumpkin, Georgia from May 2015

         to June 2016.

      3. When I arrived at SDC, I went through the intake process. During that process, I

         received a copy of the detainee handbook in Spanish. It is a blue book that tells you the

         laws of the detention center and what is prohibited.

      4. At intake I was provided with some basic necessities, like shampoo, soap, and toothpaste.

         The items came in very small quantities. The quality of these items also was not good.




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   The toothpaste and shampoo were of such poor quality they did not clean my teeth or hair

   and scalp.

5. Once inside SDC, I and the other detained people understood that CoreCivic had

   complete control over us. They controlled all of our movements – when and where we

   slept, ate, worked, and talked to the outside world. We understood that we had to obey

   the rules, and if we did not obey them, we would be punished.

6. It was widely known that segregation was one form of discipline, which could and would

   be imposed on us. We all understood this because, in addition to the handbook, the

   CoreCivic officers made it known to us all the time.

7. During my time at SDC, I was housed in an open dormitory. I was housed in Units 1 and

   2. This dormitory had bunk beds. I think it housed 60 to 70 people. It had three

   bathrooms that we all shared.

8. We called the open dormitories “el gallinero,” which means “chicken coop” in Spanish.

   We were packed in the dorms like chickens. There were so many people living in each

   room, it was hard to sleep at night with all the noise. We all worked different shifts, so

   people were coming and going from work while others were sleeping. Sometimes fights

   broke out about the noise and people’s inability to sleep.

9. All of the people in my pod were kitchen workers in the Work Program.

10. Because we were in a kitchen workers’ pod, we got two TVs – one for movies and one

   for video games. The other pods only had one TV. The officers told us we had two TVs

   as a benefit of being kitchen workers.

11. If workers in my pod were removed from the Work Program, they would be moved to a

   different housing pod. The officers also told me that if I didn’t work in the kitchen, I




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   would be moved from my pod. Even though my pod was crowded and noisy, it was a

   little better than the other open dorm pods without kitchen workers, and my friends were

   there so I wanted to stay there.

12. CoreCivic did not provide me with enough food at SDC. I often felt hungry while I was

   there. The portion sizes were rationed, the food was bad, and the meals were too spread

   out. As a result, I was hungry all the time.

13. They served us dinner at 4 p.m. in the afternoon. By 9 p.m., there was a line at the

   microwave of people wanting to heat up ramen noodles they bought at the commissary

   because we couldn’t wait until 5 a.m. the next morning for breakfast.

14. The food was also often inedible. I saw food being served that was spoiled and looked

   like vomit. There was something that I think was supposed to be meat – we called it

   “monkey brains” because it looked and tasted disgusting. Some of the food was too

   spicy. A lot of the food ended up in the trash because people did not want to eat it.

   People would buy ramen at the commissary instead. If I didn’t have money in

   commissary, I would be forced to eat the food because I was hungry.

15. There was a weekly menu that changed, but the food items and meals were often the

   same. If the menus included meals I knew were going to be inedible, I would buy myself

   ramen noodles at the commissary. We also did not get fresh fruit at SDC. Only the

   diabetics received fruit, like an apple or an orange.

16. I lost 20 pounds while at SDC due to gastrointestinal issues. I believe that the

   gastrointestinal issues were due to how little food I ate and the quality of the food. I also

   think the spoiled food caused me to get a bacterial infection, for which I had to seek

   medical treatment.




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17. I participated in the Work Program at SDC. I joined the Work Program to earn money to

   buy items I needed at the commissary, such as food, phone cards, stamps, deodorant,

   shampoo, soap, toothpaste, sock, boxers, and shirts. I bought boxers and shirts because

   the ones CoreCivic gave us were used, and I did not think it was hygienic to wear used

   clothing.

18. If I didn’t have to buy those items, I would not have joined the Work Program. I would

   have done other things, like played soccer and gone to the recreation center.

19. I also joined the Work Program because CoreCivic would provide detained people who

   worked extra food. I wanted to work in the kitchen specifically so I could serve myself

   more food. Based on my conversations with other kitchen workers, access to extra food

   was also a reason they joined the Work Program.

20. Being able to purchase and receive extra food was very important. If I did not have

   access to the commissary food, like soup, I am not sure I would have survived there.

21. During my year at SDC, I only received three visits from family and friends because the

   detention center is in a remote area. I felt very isolated in SDC.

22. I needed money to buy phone cards because that was my primary way of contacting

   loved ones. Phone cards to make calls to my family in Nicaragua were especially costly.

   For example, I would have to pay about $5 for a two-minute phone call with my

   grandma.

23. Family members occasionally put money on my account, but it wasn't enough to buy

   food, phone time, and other necessities because those items in the commissary were

   expensive. I had to use my Work Program wages to buy those items.




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24. I was able to join the Work Program easily right after I arrived at SDC. It was not hard to

   get in because they need detainees to work. An officer in my pod told me about the

   program and he had me sign a form in English to join. I could not read the form because

   I don’t speak English. The officer told me the form was to work in the kitchen.

25. I worked in the kitchen during my entire time at SDC. I cooked, washed dishes, scrubbed

   the stove, cleaned the kitchen and the chow hall, and served food on the line. It was

   heavy work. For example, when pancakes were on the menu for breakfast, I had to make

   three pancakes per person for over 1,000 people. I had to move very fast next to a hot

   grill. I felt a lot of pressure.

26. As a kitchen worker, I also had to deep clean the kitchen before inspections. During

   inspections, the area had to be cleared out. We could not be working while the inspectors

   were present.

27. I generally worked seven days per week for about 8 hours per day. My pay rate was $3

   per day. At some point that rate was raised to $4 per day.

28. CoreCivic was supposed to pay me for every day I worked, but I did not always receive

   my pay. My pay was deposited into my commissary account. Sometimes I could tell that

   CoreCivic did not pay me for every day that I worked because my account balance was

   too low.

29. For most of my time at SDC, my regular shift began at 2 a.m. in the morning. The

   CoreCivic officers would come into our dormitory to wake us up and get us out of bed.

   If we did not wake up fast enough, the officers would pull the covers off us and bang on

   the mattresses to get us up.




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30. My shift started so early, and the work was so exhausting, that I was often too tired to go

   to recreation in the afternoon. I slept instead.

31. In the kitchen, I was supervised by Trinity employees, Ms. Lyles, Ms. Gaines, and Mr.

   Marrero, and others whose names I do not remember.

32. The Trinity supervisors mistreated us. They would yell at us and call us names.

33. The Trinity supervisors also threatened us with discipline if we did not complete our

   work or perform work beyond our regular duties.

34. I was placed in segregation for refusing to perform a work task beyond my regular tasks.

   One of my jobs was to fill the drink containers with Kool Aid. Once I finished I should

   have been able to take a break. Trinity supervisor Mr. Marrero ordered me to clean the

   tables. I told him I had finished my work and did not have to do the additional task. He

   then called a CoreCivic officer to put me in segregation. He did this in front of a couple

   of other workers. One of the workers who saw this was from El Salvador. I think his

   name was Santa Maria. A CoreCivic officer then came and took me to segregation. I

   was put in segregation without a hearing or any sort of disciplinary process.

35. I was in segregation for approximately one day. I was totally isolated during this time.

   They put me in a single-person cell with no window so you cannot see outside. In

   segregation, they also provided me with less food than the normal rations, which already

   were not enough. I also could not access the commissary or go to recreation. I was not

   able to make phone calls. After this incident, I wanted to avoid being sent to segregation

   again.




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36. I was also placed in medical segregation two or three times for medical issues. Those

   units are in a different location, near the medical area, but the conditions are the same as

   regular segregation.

37. On two or three occasions, the workers in my pod refused to go to work. On those

   occasions, CoreCivic put us all on lockdown in response. During the lockdowns we were

   not allowed to move around freely within the pod. We had to ask permission to use the

   restroom. We were prohibited from using the TV or the phone. We also lost access to the

   commissary. We could not mail letters to people. If we moved when we were not

   supposed to, the officers threatened us with pepper spray.

38. The lockdowns lasted until we agreed to work, usually two to four days. We had to go

   back to work in order to get more food, to call our families, and to access the

   commissary. We had to give in out of necessity.

39. The lockdowns were oppressive. I felt depressed during them. I could not even call my

   mother to tell her I was okay. She would worry about me when I didn’t call.

40. I also saw another detained worker from Honduras get sent to segregation while we were

   working in the kitchen. I think his name is Dilmer Galeas. I believe he was sent there

   because he refused to work or perform a task.

41. It was my understanding that we could be sent straight to segregation without any process

   because that is what I witnessed and experienced.

42. CoreCivic and Trinity employees also informed us that if we refused to work, that refusal

   would be put on our “record.” I understood this to mean they would use this information

   to harm our immigration case or file a criminal case against us. CoreCivic and Trinity

   employees would also tell us we could serve time in federal prison.




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43. Based on my experiences and the statements and actions of CoreCivic and Trinity

   employees towards other workers, it was my understanding that it was CoreCivic’s policy

   at SDC to punish us if we did not work, including by sending us to segregation.

44. I continued to work in the Work Program because, if I refused, I understood I could be

   and, actually was, punished with lockdowns and segregation. The restrictions in

   lockdown and segregation were stressful and caused me to feel depressed. I could not

   take the isolation or the loss of commissary, phone access, and commissary privileges. It

   affected me physically and psychologically.

45. Also, if I stopped working, I wouldn’t have access to more food in the kitchen or have

   enough money to purchase food, phone time, and other necessities in the commissary. I

   don’t think I would have survived the whole year in SDC without being able to purchase

   those items.

46. It is important for me to be a named Plaintiff in this case because I feel that CoreCivic

   deprived us of the things we needed, like food, used us for our labor, and then made

   money off us in the commissary because we had to buy food and other necessities there. I

   don’t want other detained people to be treated like I and my fellow detained people were

   at SDC.




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                                  INTERPRETER AFFIDAVIT
I, Meredith Stewa1i, swear and ce1i ify under penalty of pe1j my under the law of the United
States that I am fluent in both th e Spanish and English languages and that I read the preceding
Declaration in Spanish with Plaintiff Keysler Urbina Rojas, who affi1med th e tiuth of its
contents.



Signed this 21st day of December, 2021




Meredith Stewart




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                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION


 WILHEN HILL BARRIENTOS,
 GONZALO BERMUDEZ GUTIÉRREZ,
 and KEYSLER RAMÓN URBINA
 ROJAS, individually and on behalf of all
 others similarly situated,                         Civil Action No. 4:18-cv-00070-CDL

                     Plaintiffs,
 v.

 CORECIVIC, INC.,

                     Defendant.



                     DECLARATION OF WILHEN HILL BARRIENTOS

I, Wilhen Hill Barrientos, hereby declare and state as follows:

      1. My name is Wilhen Hill Barrientos. I am over the age of 18. I am a named plaintiff in this

         lawsuit.

      2. I was detained in Stewart Detention Center (SDC), in Lumpkin, Georgia from July 2015

         to May 2016 and September 2017 to June 2018.

      3. I was aware of the rules of the facility because they were posted on the housing unit walls

         at Stewart in English and Spanish.

      4. At intake, I was provided with some hygiene supplies like soap, shampoo, toothbrush,

         toothpaste, and toilet paper, but the quantities were small and the items were of poor

         quality. I bought toothbrushes, toothpaste, soap, and shampoo from the commissary

         because the quantities were so small.




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5. At intake, I was provided clothes, but all of the clothing was used. Some of the boxers they

   gave us were stained, and the socks were discolored. Even though they were washed I felt

   like it was not hygienic to wear those, so I bought boxers and socks from the commissary.

   I also bought undershirts and long-sleeve shirts from the commissary to keep me warm

   because it was cold all the time at Stewart. We were provided sandals at Stewart, and I had

   to buy talcum powder from the commissary to keep the sandals from smelling bad.

6. One time, I ran out of toilet paper. When I asked for another roll, a CoreCivic officer told

   me to use my fingers to clean myself.

7. When I arrived at Stewart, I was not asked whether I wanted to work. I was assigned to a

   housing unit for kitchen workers and told that if I did not work, I would be sent to

   segregation where I would not be allowed to interact with others or go to recreation.

8. In the kitchen, I washed dishes, cleaned tables, prepared food, worked on the serving line,

   took the trash out, worked in the food storage area, and cleaned the bathrooms in the

   kitchen.

9. I did not receive any training about how to cook or clean in the kitchen from Trinity or

   CoreCivic.

10. I was forced to cook and serve spoiled food even after I told kitchen supervisors the food

   was expired. If I dropped food on the floor, the kitchen supervisors told me to serve it

   anyway.

11. I did not like the food at Stewart because it did not have enough flavor. As an example,

   when we made beans, the kitchen supervisors told us to add so much water that they did

   not have any flavor, and the kitchen staff added so much water to the powdered milk that

   it tasted like water, not milk.




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12. I was hungry often. The serving sizes at Stewart were not enough to fill me up.

13. I and other detained people in my housing unit were assigned to early work shifts, and the

   officers would wake us up, pulling our toes. The officers would pull my small toe and bend

   it until it hurt to wake me up. The officers also banged on the bed frames with their walkie

   talkies. The officers told us if we did not go to work, we would go to segregation.

14. I would have upcoming immigration court dates, but the Trinity kitchen supervisors and

   CoreCivic officer would tell me I had to work and would not let me go to the law library

   to prepare for my court dates until I finished work.

15. When my family came to visit, the Trinity kitchen supervisors and CoreCivic officer would

   not let me visit with them because I was at work, and they told me that I had to work first

   before the visit.

16. Many times I burned my arms preparing food, and the kitchen supervisors did not let me

   go to medical immediately. They would tell me, “You’re not going to die just because you

   burned yourself.” I still have marks on my arms from this.

17. I saw many detained people report to work while sick. They were forced to work even

   though they would complain they had thrown up or felt weak.

18. I tried not to miss work to go to sick call, visitation, and the law library for fear of

   punishment or that it would impact my immigration proceedings.

19. It was common for there not to be enough kitchen workers. When this happened, the

   supervisors made me work a second shift.

20. I was generally paid $4 per day for working in the kitchen. Sometimes when I worked a

   double-shift, I was paid $5 or $8. After March 2018, I was paid $1 per day if I worked




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   fewer than six hours, $4 per day if I worked for six hours, $5 per day if I worked eight

   hours but less than twelve hours, and $8 per day if I worked twelve hours or more.

21. If we worked six full days in a week, the case manager in our unit would give me a $5

   phone card in addition to my regular pay.

22. I regularly worked eight-to-nine-hour shifts per day, seven days per week.

23. I used the money I earned from working in the kitchen to buy telephone time so I could

   call my loved ones to buy items from the commissary like food, stamps, clothing, and

   hygiene items. Phone calls to my family in Guatemala were especially expensive..

24. I was never told that I could withdraw or how to withdraw from the work program. The

   CoreCivic staff promised that if I worked, it would help me with my case with ICE.

25. During the time I was at Stewart, the kitchen worker units changed from open dorm units

   to two-bed celled units, and back to open dorm units.

26. For a while I lived in an open dorm housing unit that I and other detained people called “el

   Gallinero,” or the “Chicken Coop.” In the Chicken Coop, all the detained people were in

   one place, the beds were on top of each other, and the lights were always on. The bathrooms

   were next to beds just separated by a half-wall. When one person went to the bathroom,

   the smell spread throughout the room. The Chicken Coop was dangerous. There were often

   fights.

27. I also lived in a celled housing unit with two-bed cells for a while. Each cell in the unit had

   its own toilet.

28. While I was housed in a celled kitchen worker unit, officers threatened to transfer me to

   segregation if I stopped working, called in sick, refused to change shifts as requested, or

   encouraged others to stop working.




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29. One time a CoreCivic officer woke me up to work the 2 a.m. shift, even though I was

   assigned the 10 a.m. shift that day. When I refused to work the 2 a.m. shift, the officer told

   me to pack my bags but would not tell me where I was being taken. I worked the early shift

   that day because I was afraid of my immigration case being negatively affected and of

   being moved to segregation.

30. Other detained people and I were told that if we did not follow officers’ orders, we would

   be placed in segregation. Officers threatened to move us to segregation if we did not work.

31. Around late 2015, CoreCivic officers threatened to put me in segregation on two different

   occasions because they thought I was organizing a work stoppage.

32. Officers also threatened to take away our commissary privileges if we stopped working,

   called in sick, or encouraged others to stop workings.

33. Sometimes my pod was placed on lockdown when detained people refused to work. When

   we were on lockdown, we had to stay in our beds the entire day, and we could only use the

   bathroom with permission from an officer.

34. Around October 2017, after I submitted a grievance about an officer who forced me to

   work when I was sick, I was sent to medical segregation at Stewart. I was in the same unit

   where people go for disciplinary segregation. The officers told me I was in segregation

   because I had been exposed to chicken pox, even though I told them I had chicken pox

   when I was a child.

35. I was in segregation for one month. In segregation, I was in my cell for about 23 hours per

   day. I was not allowed to see my family, my recreation time was reduced from three to four

   hours per day to a half hour per day. Segregation was the worst. Twenty-three hours locked




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   in a room without knowing what time it is, without distractions was very bad. I thought

   about suicide many times when I was in segregation.

36. When I was in segregation, I learned that another detained person died by suicide in

   segregation at Stewart, and this made me even more afraid stay in segregation longer.

37. It is important to me to be a named plaintiff in this case because I do not want people at

   Stewart to be forced to work. I do not want detained people to be misled that their

   immigration case will be affected or that they will be sent to segregation if they refuse to

   work. I do not want detained people to be intimidated into working, and I want them to

   know the tactics the officers use to intimidate people. I want to tell people what happens

   inside Stewart and how the officers treat detained people there, and I want to put an end to

   the mistreatment.




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                           Appendix C




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                                   Appendix C

Putative Class Members Interviewed on June 17-18, 2021 at Stewart Detention Center

                  First         Last               A No.




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                           Appendix D




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                                       AppendixD
                                         Tables



Table 1: SDC Avg. Length of Stay and Avg. Daily Population

                                        •   ALOS (daysl        ADP

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                                              federal Fiscal Year


Table 1:

                 . Note, most years' data reflects the ADP and ALOS at the time in the FFY
when those repo1is were published. No ALOS data was produced for 2010, 2014, or 2021.




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Table 2. SDC ADP by Custody Classification & ALOS, FFY 2019, FFY 2020, FFY2021 1

FFY2019                                 FFY2020                              FFY2021
                                    Average Length of Stay (ALOS) in days
45 days                                 51 days                              60 days

                             Average Daily Population (ADP) by Custody Classification
1,150 low custody   (60%)       1,465   613 low custody   (45%)     869      389 low custody   (51%)    487

315 low-mediwn      ( 17%)      (77%)   256 mediwn-low    ( 19%)    (64%)    98 low-mediwn     ( 13%)   (64%)
238 mediwn-high     (12%)        446    254 mediwn-high (19%)       482      131 mediwn-high (17%)      281
208 high            (11%)       (23%)   228 high            (17%)   (36%)    150 high          (19%)    (36%)

             1,911 (100%)                           1,351 (100%)                           768 (100%)

Table 2: The darker shaded areas highlight the numbers and percentages of lower risk detainees.
The lighter shaded areas highlight the numbers and percentages of higher risk detainees.
Ordinarily, ICE only allows lower custody detainees to work outside their housing units.




1
 Dep't of Homeland Sec., Immigr. and Customs Enft, Detention Management,
https://www.ice.gov/detain/detention-management (providing ICE detention statistics for FY 2019 through 2022).




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    Table 3. SDC Detainee VWP Assignments

                 Number Detainee Worker Positions by Date




2




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     Table 4. SDC's Staffing: Plan11
     Scope of work Description                                                     Custody Civilian Totals




11                                                  (CCBVA0000105880) at 4-7.
12
13 The four Warehouse Supervisor and Warehouse/Commissruy workers are CoreCivic employees. CoreCivic pays

their salaries with commissa1y profits. See Brazier Dep. Tr. at 232:23-233 :4.
14
    All food service staff are Trinity personnel.
15 For a portion of the class period, ICE Health Services Corps provided medical services and medical staffing at SDC.

CoreCivic began providing medical services and staffing at SDC around 2018. See Washbum Dep. Tr. (Dec. 1, 2021)
at 82:2- 18.




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 T able 5. Overview, SDC's Detainee VW"P 16
 Detainee Work            Slots W ork locations                  Designated Wk.               Dedicated DOs
 Assi2nments                                                     Supervisors17




 Table 5:




16   SDC Classification Housing, Work, and Program Plan, Policy 18- 100 (CCBVA0000003918) .
17                                                 (CCBVA0000105880) at 4-7.




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Table 6: 3-Month Snapshot, SDC Detainee Salaries, January – March 201618
Wages,      Laundry      Commissary      kitchen        Subtotal,       Subtotal,   All detainee
detainee                                                food service,   all other   wages
work                                                    laundry,        wages
assignments                                             commissary




Table 6:




 18
                             (CCBVA0000191616) at 9, 14, 15, 17.



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Table 7

Comparison of 2008, 2011, and 2016 PBNDS Voluntary Work Program Requirements

All provisions of PBNDS 3.3 and 5.8 are applicable to SDC.

Purpose & Scope

2008 ICE/DRO PBNDS                                   2011 ICE PBNDS                    2011 ICE PBNDS (rev. 2016)

3.3 Voluntary Work Program                           5.8 Voluntary Work Program        5.8 Voluntary Work Program

To provide detainees opportunities to work and       New. This detention standard      same
earn money, subject to the number of work            replaces “Voluntary Work
opportunities available and within the constraints   Program” dated Dec. 12, 2008,
of safety, security and good order. Although not     and incorporates requirements
legally required, ICE/DRO affords working            enacted on Nov. 2, 2004,
detainees basic OSHA protections.                    regarding detainees assigned to
                                                     work outside of a facility’s
                                                     secure perimeter.

Expected Outcomes

Availability. Opportunities to work and earn         same                              same
money, subject to the number of work
opportunities available and within the constraints
of safety, security, and good order.

Voluntary. Able to volunteer for work                same                              same
assignments but otherwise not required to work,
except to do personal housekeeping.

Facility Benefits. Essential operations and          same                              same
services enhanced through productivity from
detainees.

Detainee Benefits. Reduce negative impact of         same                              same
confinement through less idleness, improved
morale, and fewer disciplinary incidents.

Compliance with all applicable laws. Detainee        same                              same
working conditions will comply with all
applicable federal, state, and local work safety
laws and regulations.

Protection against Discrimination. There will be     same                              same
no discrimination regarding VWP access based
on any detainee's race, religion, national origin,
gender, sexual orientation, or disability.

Language Accessibility. The applicable contents      same                              New: The facility shall provide
and procedures in this Standard will be                                                communication assistance to
communicated to the detainee in a language or                                          detainees with disabilities and
manner which the detainee can understand.                                              detainees who are limited in their




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                                                                                           English proficiency (LEP). The
                                                                                           facility will provide a) auxiliary
                                                                                           aids, such as readers, materials in
                                                                                           Braille, audio recordings,
                                                                                           telephone handset amplifiers,
                                                                                           telephones compatible with
                                                                                           hearing aids, devices for hearing
                                                                                           impaired persons (TTYs),
                                                                                           interpreters, and note-takers, as
                                                                                           needed; and b) language
                                                                                           assistance, including

                                                                                           bilingual staff or professional
                                                                                           interpretation/translation services.

                                                                                           Generally, all written materials
                                                                                           will be translated into Spanish.
                                                                                           When possible, written translation
                                                                                           shall be made for other significant
                                                                                           groups of LEP detainees. Oral
                                                                                           interpretation or assistance shall
                                                                                           be provided

                                                                                           to any detainee who speaks
                                                                                           another language when written
                                                                                           material has not been translated,
                                                                                           or is illiterate.

Expected Practices

Voluntary Work Program. Detainees who are             Revised: Generally, high             same
physically and mentally able to work shall be         custody detainees (Level 3) shall
provided the opportunity to participate in any        not be given work opportunities
voluntary work program. Their classification          outside their housing units/living
level shall determine the type of work assignment     areas.
for which s/he is eligible. Level 3 (highest level)
detainees shall not work outside their housing
units.

Work Outside the CDF Secure Perimeter. Only           same                                 same
Level 1 detainees may work outside the secure
perimeter on facility grounds. They must be
directly supervised at a ratio NGT 1 DO: 4
detainees. Detainees shall be within sight and
sound of the DO at all times.

Personal Housekeeping Required. Work                  same                                 same
assignments are voluntary; however, all detainees
are responsible for personal housekeeping. CDF
detainees shall maintain their immediate living
areas in a neat and orderly manner by a) making
their bunk beds daily, b) stacking loose papers, c)
keeping the floor free of debris and dividers free
of clutter, and d) not hanging or draping clothes,




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pictures, keepsakes, or other objects from beds,
other furniture, or overhead light fixtures.

Detainee Selection. The facility administrator         same         same
shall develop site-specific rules for selecting
work detail volunteers, and record in a procedure
that includes a voluntary work program
agreement documenting the facility’s program
and its compliance with this standard. The
primary factors in hiring a detainee as a worker
shall be his or her classification level and the
specific requirements of the job.

Inquiries to staff about the detainee’s
attitude/behavior may be used as a factor in their
selection. Additionally, the shift supervisor or
department head shall assess the detainee’s
language skills as it affects the detainee’s ability
to perform the specific requirements of the job
under supervision. To the extent possible, work
opportunities should be provided to detainees
who are able to communicate with supervising
staff effectively and in a manner that does not
compromise safety and security. Staff shall
explain the rules and regulations as well as
privileges relating to the detainee worker’s status.
The detainee shall be required to sign a VWP
agreement before starting each new assignment.
Completed agreements shall be filed in the
detainee’s detention file.

Special Details. Detainees may volunteer for           same         same
temporary work details that occasionally arise.
The work, generally lasting from several hours to
several days, may involve such tasks as digging
trenches, removing topsoil and other labor-
intensive work.

Discrimination in Hiring Prohibited.                   same         same

Detainees shall not be denied VW opportunities
on the basis of such factors as a detainee's race,
religion, national origin, gender, sexual
orientation or disability.

Physically and Mentally Challenged Detainees.          same         Revised. Detainees with
While medical or mental health restrictions may                     Disabilities. The facility shall
prevent some physically or mentally challenged                      allow, where possible, detainees
detainees from working, those with less severe                      with disabilities to participate in
disabilities shall have the opportunity to                          the VWP in appropriate work
participate in the VWP program in appropriate                       assignments. Consistent with the
work assignments: a) the selecting official must                    procedures outlined in Standard
consider the precise limitations of a disabled                      4.8 “Disability Identification,
individual before rejecting him/her for selected                    Assessment, and




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work assignments; b) expediency or convenience                                             Accommodation,” the facility
is insufficient to reject or stereotype a detainee                                         shall provide reasonable
who, with reasonable accommodation, can                                                    accommodations and
perform essential functions of the work                                                    modifications to its policies,
assignment; and c) in disputed cases, the selecting                                        practices, and/or procedures to
official shall consult medical staff to determine                                          ensure they have an equal
their suitability for a given project.                                                     opportunity to access, participate
                                                                                           in, and benefit from the VWP.

Hours of Work. Participants in the VWP are              same                               same
required to work according to a fixed schedule.
The normal scheduled workday for a full time
VWP participant is 8 hrs. maximum. Detainees
shall not be permitted to work in excess of 8
hours daily, 40 hours weekly. Unexcused
absences from work or unsatisfactory work
performance may result in removal from the
voluntary work program.

Number of Details in One Day. A detainee may                                               same
participate in only one work detail per day.

Facilities That Detain Criminal Aliens. If the          New title. Establishing Detainee   same
facility cannot establish the classification level in   Classification Level.
which the detainee belongs, the detainee shall be
ineligible for the VWP.

Compensation. Detainees shall receive monetary          Revised. Detainees shall receive   same
compensation for work completed. The                    monetary compensation for work
compensation at CDFs is $1/day. Ordinarily, it is       completed in accordance with
to be paid daily, unless the facility has a system      the facility’s standard policy.
in place that ensures workers receive the pay           The compensation is at least $1/
owed them before being transferred or released.         day. The facility shall have an
                                                        established system that ensures
                                                        detainees receive the pay owed
                                                        them before being transferred or
                                                        released.

Removal of Detainee from Work Detail. A                 same                               Revised. Detainees may file a
detainee may be removed from a work detail for                                             grievance to the local Field Office
such causes as a) unsatisfactory performance, b)                                           Director or facility administrator
                                                                                           if they believe they were unfairly
disruptive behavior, threats to security, etc.; c)                                         removed from work, in
physical inability to perform all functions                                                accordance with standard 6.2
required by the job, whether because of a lack of                                          Grievance System.
strength or a medical condition; d) prevention of
injuries to the worker; or e) a removal sanction
imposed by the facility’s Disciplinary Panel for
an infraction of a facility rule, policy, or
regulation. When a detainee is removed from a
work detail, the facility administrator shall
document the circumstances and reasons in
his/her detention file.




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Detainee Responsibility. The facility                 same                               same
administrator shall establish procedures for
informing detainee volunteers about on-the-job
responsibilities and reporting procedures. The
detainee is expected to be ready to report for
work at the required time and may not leave an
assignment without permission: a) the detainee
shall perform all assigned tasks diligently and
conscientiously; b) the detainee may not evade
attendance and performance standards in assigned
activities or encourage others to do so; c) the
detainee shall exercise care in performing
assigned work, using safety equipment and taking
other precautions in accordance with the work
supervisor’s instructions; and d) in the event of a
work-related injury, the detainee shall notify the
work supervisor who shall implement
immediately injury response procedures.

Detainee Training and Safety. All facilities shall    Revised. The VWP program           same
comply with all applicable health and safety          agreement, which each detainee
regulations and standards. The facility               is required to sign prior to
administrator shall ensure that all department        beginning each new assignment,
heads develop and institute, in collaboration with    will be placed in the detainee’s
the facility’s safety/training officer, appropriate   detention file.
training for all detainee workers. 1. The VWP
shall operate in compliance with: a) OSHA regs,
b) Nat’l. Fire Protection Assoc. 101 Life Safety
Code, c) ACA standards for ADLF, current ed.,
and d) Int’l Council Codes (ICC). 2. Upon a
detainee’s assignment to a job or detail, the
supervisor shall provide thorough instructions
regarding safe work methods and, if relevant,
hazardous materials including a) safety features
and practices demonstrated by the supervisor, and
b) recognition of hazards in the workplace,
including the purpose for protective devices and
clothing provided, reporting deficiencies to their
supervisors. Anyone who does not read English
will not be authorized to work with hazardous
materials; c) a detainee shall not undertake any
assignment before signing a VWP agreement
that, among other things, confirms s/he has
received and understood training from the
supervisor about the work assignment. The VWP
agreement shall be placed in the detainee’s
detention file. 3. For a food service assignment,
medical staff, in conjunction with the IHSC, shall
ensure that detainees are medically screened and
certified before undertaking the assignment. 4.
The facility shall provide detainees with safety
equipment that meets OSHA and other standards




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associated with the task performed. 5. The facility
administrator shall ensure that the facility
operates in compliance with all applicable
standards.

Detainee Injury and Reporting Procedures. The         same         same
facility administrator shall implement procedures
for immediately and appropriately responding to
on-the-job injuries, including immediate
notification of ICE/DRO. If a detainee is injured
while performing their work assignment a) the
work supervisor shall immediately notify the
facility medical staff. In the event that the
accident occurs in a facility that does not provide
24-hour medical care, the supervisor shall contact
the on-call medical officer for instructions; b)
first aid shall be administered when necessary; c)
medical staff shall determine what treatment is
necessary and where that treatment shall take
place; and d) the work supervisor shall complete
a detainee accident report and submit it to the
facility administrator for review and processing,
and file it in the detainee’s detention file and A-
file.




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Table 8. SDC Detainee VWP Assignments

                Number Detainee Worker Positions by Date                 Days/    Pay/
                                                                         Shifts   Day




    19




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